                 IN THE UNITED STATES DISTRICT COURT

                FOR THE WESTERN DISTRICT OF MISSOURI




H&R BLOCK, INC. and
HRB INNOVATIONS, INC.

                                 Plaintiffs,    Case No: 4:21-CV-00913-NKL
v.

BLOCK, INC.,

                                Defendant.




     REBUTTAL EXPERT DECLARATION OF PROFESSOR DAVID REIBSTEIN


                             JANUARY 21, 2022




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I.       INTRODUCTION

         A.       Assignment

         1.       I submit this rebuttal expert declaration on behalf of H&R Block, Inc. and HRB

Innovations, Inc. (“Plaintiffs”) in the above captioned dispute with Block, Inc. (“Defendant”). I

have been asked by counsel for Plaintiffs to offer opinions relevant to this matter based on my

expertise in the field of marketing and branding to comment on the opinions offered by Prof.

Yoram (Jerry) Wind1 and Prof. Ravi Dhar2 on behalf of Defendant and the arguments made by

Defendant in its “Suggestions In Opposition to Plaintiffs’ Motion for Preliminary Injunction.”3

Specifically, I have been asked to:

                 Describe and explain the marketing and branding principles relevant to assessing

                  the potential for consumer confusion in this matter.

                 Explain the role of media, both traditional and social media, as an influence on

                  consumer brand associations, including the relationship between corporate brands

                  and product brands.

                 Discuss H&R Block’s presence in the marketplace and its investment in its brand,

                  including the extent to which H&R Block promotes its association with the term

                  “Block”; and explain the conditions under which a competitor’s use of the term

                  “Block” as a corporate brand could introduce the potential for consumer confusion

                  with H&R Block.


1
     Declaration of Dr. Yoram (Jerry) Wind, H&R Block, Inc. and HRB Innovations, Inc. v. Block, Inc., United
     States District Court For the Western District of Missouri, Case No. 4:21-cv-00913-NKL, January 12, 2022
     (“Wind Declaration”).
2
     Declaration of Professor Ravi Dhar, H&R Block, Inc. and HRB Innovations, Inc. v. Block, Inc., United States
     District Court For the Western District of Missouri, Case No. 4:21-cv-00913-NKL, January 12, 2022 (“Dhar
     Declaration”).
3
     Defendant Block, Inc.’s Suggestions in Opposition to Plaintiffs’ Motion For Preliminary Injunction, H&R
     Block, Inc. and HRB Innovations, Inc. v. Block, Inc., United States District Court For the Western District of
     Missouri, Case No. 4:21-cv-00913-NKL, January 12, 2022.

                                                          1

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               Assess the extent, if any, to which consumers are likely to associate Defendant’s

                “Cash App” brand with Defendant’s use of “Block” as a corporate brand.

               Assess the likelihood of consumer confusion and harm to H&R Block stemming

                from Defendant’s recent renaming to “Block, Inc.” together with its plans to offer

                a tax preparation service called “Cash App Taxes.”

               Respond to certain additional opinions offered by Prof. Wind and Prof. Dhar,

                including whether their assessments of likelihood of future confusion are based on

                the appropriate marketplace context and time period.

       2.       This declaration summarizes the opinions that I have formed to date. I may modify

my opinions, if necessary and allowed, based on further review and analysis of information

provided to me after the date of this declaration.


       B.       Summary of Opinions

       3.       On the basis of my review of the information and documents made available to me,

I have reached the following opinions:

           Brand associations reside in the minds of consumers. Brand associations are shaped
            by a variety of factors, including factors outside of a company’s brand management
            efforts. When managed properly, brands have the potential to be highly valuable
            company assets. One aspect of brand management is specifying a brand architecture,
            which reflects a company’s structuring of its corporate and product brands. One such
            brand architecture is termed the “House of Brands,” in which a company’s corporate
            brand name is distinct from those of its product brands. While in principle, this
            architecture can facilitate some degree of separation between the corporate brand and
            a product brand, the extent to which consumers actually keep these brands separate
            depends on a variety of factors, including linkages made by the media between these
            brands.



                                                     2

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    Empirical analysis demonstrates that for many companies that employ a “House of
     Brands” architecture, the media expose consumers to substantial linkages between the
     corporate brand and product brands within the architecture.
    Brands are of particular importance to consumers in tax preparation and personal
     financial services. H&R Block has a longstanding presence in providing these services,
     and has invested significantly in building its brand, including by promoting its
     associations with the term “Block.” Consumer evidence indicates that H&R Block has
     been successful at cultivating consumer associations between H&R Block and “Block.”
     Due to H&R Block’s strong brand presence associated with both “H&R Block” and
     “Block,” consumer exposure to a competitor’s use of “Block” introduces a likelihood
     of confusion with H&R Block, even if that competitor’s use of “Block” is restricted to
     being a corporate brand.
    Consumers have been exposed to linkages between the “Cash App” brand and
     Defendant’s use of “Block” as a corporate brand, and are likely to continue to be
     exposed to such linkages.     Empirical analysis demonstrates that the media have
     historically linked the “Cash App” brand with the brand of its owner, and consumers
     have encountered and internalized such linkages. Given Defendant’s recent name
     change (publicly announced on December 1, 2021), it is likely that on an ongoing basis,
     consumers will continue to encounter such linkages, but specifically between the “Cash
     App” brand and “Block” as Defendant’s corporate brand. Defendant has promoted
     linkages between “Cash App” and “Block”, and the media are already beginning to link
     “Cash App” with “Block.”         Further, consumer-generated evidence shows that
     consumers are already linking "Cash App” with “Block.”
    H&R Block is likely to suffer harm to its brand associations stemming from a
     likelihood of consumer confusion caused by Block, Inc.’s renaming, as well as by its
     “Cash App Taxes” offering. This likelihood of confusion results from the overlap
     between the services offered by H&R Block and Block, Inc., as well as the likelihood
     that consumers will increasingly associate “Cash App” with Defendant’s “Block”
     corporate brand as they are exposed to ongoing linkages between those two over time.
     The extent of this consumer confusion is likely to grow over time, but not necessarily
     in a steady or gradual pattern. For example, a serious deficiency in the “Cash App
     Taxes” product, such as a data breach, that results in widespread and negative media

                                          3

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            coverage has the potential to both substantially increase consumer confusion and also
            result in permanent and irreparable harm to H&R Block’s brand.
           Prof. Wind and Prof. Dhar fail to consider the likely mechanisms of consumer
            confusion in this dispute. Prof. Wind seeks to assess consumer confusion at a fixed
            point in time proximate to the filing of his declaration (e.g., his survey data were
            collected between January 6-9, 2022, approximately one month after the change of the
            corporate name to “Block, Inc.”), but this does not address the likelihood of consumer
            confusion growing stronger over time as more consumers are exposed to linkages
            between “Cash App” and “Block”. Prof. Dhar asserts the importance of considering
            marketplace context, but his opinions fail to take into account critical context, such as
            the role of media in shaping consumer brand associations. Both Prof. Wind and Prof.
            Dhar fail to consider relevant empirical evidence in this matter, including the extent of
            consumer exposure to linkages between “Cash App” and “Block”, as well as evidence
            that consumers have begun internalizing this linkage and are likely to experience
            stronger associations between “Cash App” and “Block” given the passage of time.


       C.      Qualifications

       4.      I am the William Stewart Woodside Professor and Professor of Marketing at the

Wharton School of Business at the University of Pennsylvania. I have been teaching Marketing

classes at the graduate level for more than 25 years. Classes that I have taught include Marketing

Strategy and Marketing Research in the Wharton MBA Program, as well as Competitive

Marketing Strategy, Marketing Metrics, Pricing Strategies, and various other programs for

Wharton’s Executive Education Program. I am currently teaching the Introductory Marketing

classes for first-year MBA students at Wharton, Wharton’s Executive MBA Program, senior

executives in Wharton’s Advancement Management Program, and in several other of Wharton’s

Executive Education Programs. Over the course of my teaching career, I have been honored with

more than 30 teaching awards. For several years, I was the Vice Dean of the Wharton School of

Business at the University of Pennsylvania and the Director of the Graduate Division.


                                                  4

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       5.      My research focuses on branding, competitive marketing strategies, marketing

metrics, and product line decisions, among other areas. My research on competitive marketing

strategies addresses competitors’ reactions to marketing actions, offering companies insight into

ways to anticipate these reactions and use them to develop effective strategies. I have authored or

co-authored more than 50 articles published in top-tier academic journals, including Marketing

Science, Journal of Marketing Research, Journal of Consumer Research, Harvard Business

Review, Marketing Letters, Journal of Marketing, and The International Journal of Research in

Marketing. I am the U.S. representative on the International Standards Board committee that is in

charge of setting the international standards for measuring brand value and the use of brand names.

I am also the author or co-author of several books and book chapters on subjects that include

competitive marketing strategy, global branding, and marketing performance measurement,

among others. I have published numerous papers on branding and brand value measurement. I

have also applied survey analysis to determine brand value in practice through consulting

engagements with major corporations. I have also been on the founding board of And1, a

basketball apparel company that worked to build their brand and was named the number one

“guerilla brand” in the country. Similarly, I was on the founding board of Bizrate, Inc. who built

their brand and then chose to introduce a second brand, Shopzilla.

       6.      I served on the Board of the American Marketing Association for several years,

some of that time as the Chairman and several years on the Executive Committee of the Board. I

am a former Executive Director of the Marketing Science Institute, and consult extensively on

marketing issues with companies worldwide. Topics on which I have been asked to consult in the

past include marketing strategy, marketing resource allocation, marketing metrics, sales force

planning and incentives, branding, brand management, brand valuation, product line extensions,

marketing research, and other marketing activities.


                                                5

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        7.       I received my Ph.D. from Purdue University and B.S. and B.A. degrees from the

University of Kansas. In 2005, I received the John S. Day Distinguished Alumni Academic Service

Award from Purdue University’s Krannert School of Management, an honor given to graduates

whose service within the academic community reflects the spirit and service of former Krannert

Dean John Day. A copy of my CV, together with a list of the trial and deposition testimony I have

given in the last four years, is attached as Exhibit 1.


        D.       Compensation

        8.       I have billed the Plaintiffs on a time-and-materials basis for my work. My hourly

billing rate is $1,200, which is my standard rate. In addition, I receive compensation based on the

professional fees of Analysis Group.4 My compensation is not, nor has it ever been, contingent on

my findings, testimony rendered, or the outcome of this litigation.


        E.       Evidence Considered

        9.       In undertaking my analysis, I have considered information from a variety of

sources, which are identified in this declaration and the accompanying exhibits or listed in the

attached Exhibit 2. I also have relied upon my professional judgment and expertise, gathered from

many years of marketing and branding analysis in a variety of industries.




4
    In preparing this declaration, I have been assisted by employees of Analysis Group, who have provided support
    to me under my direction and supervision.

                                                        6

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II.       BACKGROUND

          A.      Parties and Their Trademarks

                  1.       H&R Block, Inc. and HRB Innovations, Inc.
          10.     H&R Block, Inc. (“H&R Block”) was founded in 1955 by brothers Henry W. Bloch

and Richard Bloch.5 H&R Block describes itself as a market leader in tax preparation and other

financial services, with over 10,000 office locations around the world, including in all 50 U.S.

states.6 Since its founding, H&R Block has expanded its business operations from tax preparation

services to a variety of other financial services, including electronic tax filing, tax refunds, identity

theft protection, small business services, refund transfers, and prepaid debit cards.7 Additionally,

through services branded as Block Advisors and Wave, the company provides small business

owners with resources to help them automate bookkeeping and manage their taxes and payrolls

needs.8 H&R Block also offers two mobile applications, MyBlock and H&R Block Tax Prep, that

allow users to access its tax preparation and personal financial services and get support from H&R

Block professionals.9 On January 20, 2022, H&R Block launched a new financial technology

platform, called SPRUCE, to help consumers create personalized savings goals, earn automatic

cash back rewards on everyday purchases, and view their credit score.10


5
      H&R Block Website, “Our Company,” <https://www.hrblock.com/corporate/our-company/>, accessed January
      20, 2022.
6
      H&R Block Website, “Our Company,” <https://www.hrblock.com/corporate/our-company/>, accessed January
      20, 2022; Complaint, ¶13; H&R Block Factsheet, <https://www.hrblock.com/corporate/pdfs/hrb-factsheet.pdf>,
      accessed January 20, 2022.
7
      H&R Block Website, Taxes, <https://www.hrblock.com/filing-options-and-products/>, accessed January 16,
      2022.
8
      H&R Block Website, “H&R Block to introduce next phase of strategic transformation at virtual investor day,”
      <https://www.hrblock.com/tax-center/newsroom/around-block/hr-block-introduces-strategic-transformation-at-
      virtual-investor-day/>, accessed January 20, 2022; H&R Block Factsheet,
      <https://www.hrblock.com/corporate/pdfs/hrb-factsheet.pdf>, accessed January 20, 2022.
9
      H&R Block Website, “Mobile Tax Apps and Tools From H&R Block,” <https://www.hrblock.com/mobile-
      apps>, accessed January 20, 2022.
10
      Spruce Website, <https://www.sprucemoney.com/>, accessed January 20, 2022; “H&R Block Introduces
      Spruce Mobile Banking Platform to Help More Americans be Good with Money” (Press Release), January 20,
      2022, <https://www.globenewswire.com/news-release/2022/01/20/2370093/0/en/H-R-Block-Introduces-
      Spruce-Mobile-Banking-Platform-to-Help-More-Americans-be-Good-with-Money.html>, accessed January 20,
      2022.

                                                        7

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         11.      HRB Innovations, Inc. is a corporation located in Delaware and is a wholly-owned

indirect subsidiary of H&R Block. HRB Innovations is the owner of H&R Block’s family of

trademarks.11

         12.      H&R Block owns a number of registered trademarks, including H&R BLOCK,

H&R BLOCK EMERALD CARD, BLOCKWORKS, BLOCK Advisors, and BLOCK HAS

YOUR BACK.12 H&R BLOCK EMERALD CARD is for debit card and credit card goods and

services, BLOCKWORKS is for computer software for tax return preparation, BLOCK Advisors

is for tax preparation, business management, accounting, budgeting, and payroll goods and

services, and BLOCK HAS YOUR BACK is a marketing slogan related to H&R Block’s tax

preparation services.13 H&R Block also owns federally registered trademarks for the green square

logo that appears in the branding of its products and services.14

                  2.      Block, Inc.
         13.      Block, Inc. was formerly known as Square, Inc.15 Square, Inc. was founded in 2009

as a way to enable sellers to accept card payments.16 Square, Inc. launched Cash App in 2013.17

Cash App allows individuals to store, send, receive, spend, and invest monetary funds. Of

significance, in 2020, Square, Inc. acquired Credit Karma Tax, a tax preparation service, for the

purpose of allowing individuals to file their taxes within Cash App.18 On December 1, 2021,

Square, Inc. announced publicly that it would change its name to “Block, Inc.” Today, Block, Inc.


11
     Complaint, ¶8.
12
     Complaint, ¶15.
13
     Complaint, ¶15.
14
     Complaint, ¶¶28-29.
15
     Square, Inc. changed its name to Block, Inc. legally on December 10, 2021. See “Square, Inc. Changes Name to
     Block” (Press Release), December 1, 2021, <https://squareup.com/us/en/press/square-changes-name-to-block>,
     accessed January 20, 2022.
16
     Square, Inc., Form 10-K for the fiscal year ended December 31, 2020, p. 4.
17
     Square, Inc., Form 10-K for the fiscal year ended December 31, 2020, p. 10; Kori Hale, “Hip-Hop’s Role In
     Square’s $40 Billion Cash App Business Success,” Forbes, September 22, 2020,
     <https://www.forbes.com/sites/korihale/2020/09/22/hip-hops-role-in-squares-40-billion-cash-app-business-
     success/?sh=65152d9d7489>, accessed January 20, 2022.
18
     Square, Inc., Form 10-K for the fiscal year ended December 31, 2020, p. 10.

                                                        8

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offers customers a wide variety of financial services (such as prepaid debit cards, bank accounts,

and payroll services) as well as tax preparation services due to Square, Inc.’s acquisition of Credit

Karma Tax.19 I understand that Block, Inc. has established a website offering tax preparation

services under the name “Cash App Taxes,” with an announcement that “Credit Karma Tax is now

Cash App Taxes.”20

         14.      Block, Inc. holds separate trademarks for “Cash App” and its logo of a white “$”

symbol inside a green square.21

         15.      On December 1, 2021, the same day that it announced its name change, Square,

Inc. filed an application to register the word “Block” as a trademark with the U.S. Patent and

Trademark Office.22          The designated “Good and Services” associated with this trademark

application included references to “holding company services,” “charitable services,” “providing

investors with financial information,” and “business administration and management.”23




19
     Complaint, ¶32, 37.
20
     Complaint, ¶ 38; Cash App Taxes Website, <https://cash.app/taxes>, accessed January 20, 2022.
21
     Declaration of Owen Jennings In Support of Block, Inc.’s Opposition to Plaintiffs’ Motion for Preliminary
     Injunction, H&R Block, Inc. and HRB Innovations, Inc. v. Block, Inc., United States District Court For the
     Western District of Missouri, Case No. 4:21-cv-00913-NKL, January 12, 2022 (“Jennings Declaration”), ¶6 and
     Exhibit A.
22
     Trademark Serial No. 97151246, filed December 1, 2021, United States Patent and Trademark Office.
23
     Trademark Serial No. 97151246, filed December 1, 2021, United States Patent and Trademark Office (“Holding
     company services, namely, providing business management, business administration services for subsidiaries
     and affiliates which provide tools and resources for economic empowerment; holding company services,
     namely, providing business management, business administration, business promotion, and business consulting
     services for subsidiaries; holding company services, namely, providing business management and
     administration, business operation consulting services, and identifying strategic alliances for affiliates;
     charitable services, namely, promoting public awareness about charitable, philanthropic, volunteer, public and
     community service and humanitarian activities” and “Holding company services, namely, investment
     management; holding company services, namely, financial reporting and financial advising to subsidiaries and
     affiliated companies; holding company services, namely, provision of investment capital, development,
     ownership, and operation relative to subsidiaries and affiliates; providing investors with financial information;
     holding company services, namely, financial management in the nature of allocation of investment capital;
     holding company services, namely, acquisition, management, and transfer of company stakes as well as the
     intermediation of equity capital financing of companies, namely, asset acquisition, consultation, development
     and management services; business administration and management, namely, controlling policies and
     management of the other companies”).

                                                          9

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         B.       Plaintiffs’ Allegations

         16.      According to the Complaint, Plaintiffs allege that Block, Inc. is creating a high

likelihood of confusion with Plaintiffs’ services by using “Block” as its name in connection with

its tax and other financial services businesses.24 Plaintiffs allege that if Block, Inc. is not enjoined

from infringing on Plaintiffs’ family of “Block” trademarks, Plaintiffs will suffer irreparable harm

and erosion of the goodwill that it has spent decades building.25 Plaintiffs are seeking an injunction

to prevent Block, Inc. from continuing to use the name “Block” and the green square logo in

connection with the advertising, distribution, marketing, offering for sale, or sale of any product

or service neither originating from nor authorized by Plaintiffs.26


         C.       Defendant’s Response to Plaintiffs’ Allegations

         17.      In response to Plaintiffs’ allegations, Block, Inc. asserts that it “does not use its

Block brand to sell any customer-facing products or services at all.”27 Block, Inc. asserts that it

uses “Block” as “the name of a parent corporation whose business units and customer-facing

brands … offer services that Plaintiffs have never offered, such as money transfers, cryptocurrency

trading, and music streaming.”28 Block, Inc. asserts that “[t]his absence of an overlap in services

offered under a similar same name cannot support a likelihood of confusion.”29 Further, Block,

Inc. asserts that “the tax preparation services at issue … are branded as ‘Cash App’ [, which] is a

name so unlike H&R Block … that no one plausibly could confuse one for the other.”30



24
     Complaint, ¶45.
25
     Complaint, ¶45.
26
     Complaint, Prayer for Relief ¶2.
27
     Defendant Block, Inc.’s Suggestions In Support of Its Motion to Dismiss Plaintiffs’ Complaint Pursuant to Rule
     12(b)(6), H&R Block, Inc. and HRB Innovations, Inc. v. Block, Inc., United States District Court For the
     Western District of Missouri, Case No. 4:21-cv-00913-NKL, January 7, 2022 (“Block, Inc. Motion to
     Dismiss”), p. 1.
28
     Block, Inc. Motion to Dismiss, p. 15.
29
     Block, Inc. Motion to Dismiss, p. 15.
30
     Block, Inc. Motion to Dismiss, p. 11.

                                                        10

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           18.      Block, Inc. also defends the use of its green square logo for several reasons. First,

Defendant asserts that the rounded rectangle shape of the Cash App logo is functional for

smartphone applications and that that shape cannot be monopolized to prevent competition.31

Second, Defendant alleges that the color green cannot be monopolized by H&R Block for financial

services and claims that more than 300 registered marks currently feature a green square.32 Third,

Defendant claims that the green square logos used by H&R Block and Cash App are unlikely to

cause confusion because in the marketplace, those logos are combined with the names of the

related companies.33


III.       BRAND ASSOCIATIONS RESIDE IN THE MINDS OF CONSUMERS AND ARE
           SHAPED BY A VARIETY OF FACTORS, INCLUDING FACTORS OUTSIDE OF
           A COMPANY’S BRAND MANAGEMENT EFFORTS

           A.       Brands Create and Reflect Associations in Consumers’ Minds

           19.      Brands are a highly studied area of academic research. A brand is intended to create

“distinctive images and associations in the minds of stakeholders, thereby generating economic

benefit/values.”34 Accordingly, a brand works by creating and then maintaining effective and

beneficial brand associations in consumers’ minds. Brand associations are “all brand-related

thoughts, feelings, perceptions, images, experiences, beliefs, attitudes, and so on that become

linked to the brand node.”35 Hence, a brand is much more than just a name.

           20.      A variety of factors contribute to to the brand associations that are created in the

minds of consumers. One such factor is the product or service itself and the experience that

customers have with the product or service. In addition, brand associations can be influenced by


31
       Block, Inc. Motion to Dismiss, p. 14.
32
       Block, Inc. Motion to Dismiss, pp. 2, 14.
33
       Block, Inc. Motion to Dismiss, p. 6.
34
       “Brand Evaluation – Principles and Fundamentals,” International Organization for Standardization,
       <https://www.iso.org/obp/ui/#iso:std:iso:20671:dis:ed-1:v1:en>, accessed January 20, 2022 (emphasis
       removed).
35
       Keller, Kevin Lane, and Philip Kotler, Marketing Management, Fifteenth Edition, 2016, Pearson, p. 171.

                                                          11

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other people’s experiences with the product that are shared via word-of-mouth or social media,

particularly if those communications are deemed to be credible. A firm’s marketing plan and

actions, such as their advertising and other communications including what they post on their

website, certainly contribute to brand associations. In addition, consumer brand associations are

often shaped by media. For example, learnings from the media of what types of customer sets

engage with particular products and services may influence consumer perceptions toward those

products and services. In sum, the impressions that consumers have about brands are not

exclusively in the hands of the companies that promote those brands.

         21.     An effective marketing plan can associate a brand with a number of characteristics

in the minds of consumers as a result of exposure to and usage experiences with the product or

service.36 For example, consumers who use a product or service can transfer or associate their

feelings and attitudes about the product or service to the brand, and effective marketing can

faciliate such a connection. Such brand association enhances (or, in the case of negative feelings

and attitudes, detracts from) the value of the brand. Over time, consumers’ associations with, or

exposures to, a brand can accumulate, and, if managed properly, these associations can increase

the value and lifespan of the brand.

         22.     From the perspective of consumers, a strong brand can signal high quality. The

product quality perceived by consumers will directly influence consumer purchase decisions and

brand loyalty, and may drive consumers to pay a premium price.37 In particular, researchers have

noted:

                 Given the difficulty of assessing and interpreting product attributes
                 and benefits for experience and credence goods, brands may be
                 particularly important signals of quality and other characteristics to


36
     Aaker, David A., Managing Brand Equity: Capitalizing on the Value of a Brand Name, 1991, The Free Press,
     pp. 69-70.
37
     Aaker, D.A., Managing Brand Equity: Capitalizing on the Value of a Brand Name, The Free Press, 1991, p. 19.

                                                       12

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                  consumers for these types of products. Brands can reduce the risks
                  in product decisions.38

         23.      In sum, companies invest in brands for a reason: typically, to build associations in

the minds of consumers that will be of benefit to the company.


         B.       When Managed Properly, Brands Have the Potential to be Highly Valuable
                  Company Assets

         24.      A strong brand is a valuable intangible asset. As of 2020, intangible assets

accounted for 90 percent of the S&P 500’s total assets, compared to only 17 percent in 1975.39

Interbrand estimates that the combined value of the “Top 100” brands was $2.7 trillion as of 2021,

an increase of 15 percent from 2020.40 As Professor David Aaker has noted, “the establishment of

a strong name anchored by high recognition creates an enormous asset,” and “the asset gets

stronger over the years as the number of exposures and experiences grows.”41 A strong brand can

lead to a number of important market outcomes in terms of consumer loyalty, price premiums and,

ultimately, profitability. As noted in the book Marketing Metrics, which I co-authored: “[w]hen

consumers trust a brand and find it relevant, they may select offerings associated with that brand

over those of competitors, even at a premium price. When a brand’s promise extends beyond a

particular product, its owner may leverage it to enter new markets. For all these reasons, a brand

can hold tremendous value, known as brand equity.”42 A brand has “positive consumer-based




38
     Keller, Kevin Lane and Vanitha Swaminathan, Strategic Brand Management: Building, Measuring, and
     Managing Brand Equity, Fifth Edition, 2020, Pearson, p. 7. I provide a definition and further discussion of
     experience and credence goods in Section V.A below.
39
     “How Aon is redefining the value of intellectual property,” Business Insider, April 26, 2021.
40
     “Best Global Brands 2021,” Interbrand, 2021, p. 8.
41
     Aaker, David A., Managing Brand Equity: Capitalizing on the Value of a Brand Name, 1991, The Free Press, at
     pp. 70-71.
42
     N.T. Bendle, Farris, P.W., P.E. Pfeifer, and D.J. Reibstein, Marketing Metrics, 3rd Edition, Pearson, 2016, p.
     138 (emphasis removed).

                                                        13

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brand equity when consumers react more favorably to a product and the way it is marketed when

the brand is identified than when it is not.”43

         25.     Brand equity provides firms with a marketing advantage. This has been supported

by many empirical studies. For example, scholars found that brand equity has a “predictable and

meaningful impact on customer acquisition, retention, and profitability” and that “brand equity is

a useful indicator for the effectiveness of marketing instruments.”44 Other scholars also observed

that “[w]hen a brand has stronger equity, consumers hold more favorable, powerful, and unique

associations with the brand and have a more established familiarity with the brand. Because of the

highly firm-specific, legally protected, and socially complex processes by which a brand is created

and managed over time, a positional barrier is generated that likely influences the effectiveness of

its marketing promotions.”45


         C.      Brand Architecture Reflects a Company’s Structuring of Its Corporate and
                 Product Brands

         26.     An important aspect of a firm’s marketing strategy is defining its brand strategy,

which includes the brand hierarchy and the relationship among the brands contained in the firm’s

portfolio. This includes defining the company’s product brands and corporate brand.

         27.     A product brand identifies a certain product or service used by consumers. A

product brand provides differentiation from competing products (e.g., General Mills’ Cheerios

cereal versus Post’s Oh’s cereal)46 or other products within a firm’s brand portfolio (e.g., General



43
     Keller, Kevin Lane, Strategic Brand Management: Building, Measuring, and Managing Brand Equity, Fifth
     Edition, 2020, Pearson, p. 69.
44
     Stahl, F., M. Heitmann, D.R. Lehmann, and S.A. Neslin, “The Impact of Brand Equity on Customer
     Acquisition, Retention, and Profit Margin,” Journal of Marketing, Vol. 76, No. 4, 2012, pp. 44-63, p. 59.
45
     Slotegraaf, R.J., and K. Pauwels, “The Impact of Brand Equity and Innovation on the Long-Term Effectiveness
     of Promotions,” Journal of Marketing Research, Vol. 45, No. 3, 2008, pp. 293-306.
46
     General Mills Website, “Brands, Cereals” <https://www.generalmills.com/en/Brands/Cereals>, accessed
     January 20, 2022; See also Kellogg’s Website, “Cereals,” <https://www.kelloggs.com/en_US/cereal.html>,
     accessed January 20, 2022.

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Mills’ Cheerios versus Annie’s cereals, also owned by General Mills).47 Product brands owned

by the same company can be independent (e.g. Coca Cola’s Coke Zero and Dasani)48 or related

(e.g. Coca Cola’s Coke Zero and Diet Coke).49

         28.       A corporate brand relates to an entire company and represents the highest level of

hierarchy of a brand in a company’s brand portfolio.50 A corporate brand (e.g., General Mills or

Apple) reflects consumer associations tied to the entire company making the products.

         29.       A firm’s brand architecture is the organizational structure of the firm’s portfolio of

brands, including its corporate and product branding.51 One brand architecture option, called the

“Branded House,” involves the company applying its corporate brand “as an umbrella brand across

their entire range of products.”52 In contrast, the “House of Brands” architecture involves a

collection of differentiated product brands, some or all of which may involve no inherent

connection to the corporate brand.53 These two brand architecture strategies “represent two ends

of a continuum”54 and companies can employ a mixed or hybrid strategy that falls in between these

two strategies. For example:

                  House of Brands. Procter and Gamble markets its products under different brand

                   names, such as Gillette for grooming products, Pampers for baby diapers, Tide for

                   laundry products, and Head & Shoulders for hair care.



47
     General Mills Website, “Brands, Cereals,” <https://www.generalmills.com/en/Brands/Cereals>, accessed on
     January 20, 2022.
48
     The Coco-Cola Company Website, “Brands,” <https://www.coca-colacompany.com/brands>, accessed on
     January 20, 2022.
49
     The Coco-Cola Company Website, “Brands," <https://www.coca-colacompany.com/brands>, accessed on
     January 20, 2022.
50
     Keller, Kevin Lane, and Vanitha Swaminathan, Strategic Brand Management: Building, Measuring, and
     Managing Brand Equity, Fifth Edition, 2020, Pearson, p. 407.
51
     Keller, Kevin Lane, and Vanitha Swaminathan, Strategic Brand Management: Building, Measuring, and
     Managing Brand Equity, Fifth Edition, 2020, Pearson, p. 417.
52
     Keller, Kevin Lane, and Philip Kotler, Marketing Management, Fifteenth Edition, 2016, Pearson, p. 322.
53
     Keller, Kevin Lane, and Vanitha Swaminathan, Strategic Brand Management: Building, Measuring, and
     Managing Brand Equity, Fifth Edition, 2020, Pearson, p. 402.
54
     Keller, Kevin Lane, and Philip Kotler, Marketing Management, Fifteenth Edition, 2016, Pearson, p. 322.

                                                      15

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                         Figure 1: Procter & Gamble’s “House of Brands”55




                Branded House. Sony applies its corporate brand to its individual offerings, such

                 as Sony Music and Sony Bravia.


                                  Figure 2: Sony’s “Branded House”56




55
     Identity Wise, Perspectives on Branding, “House of Brands, Branded House or Somewhere in Between?”
     Franikie+Fiorella, <https://frankefiorella.com/identitywise/house-of-brands-branded-house-or-somewhere-in-
     between/>, accessed January 20, 2022.
56
     Sony Website, “About Sony Group,"
     <https://www.sony.com/en/SonyInfo/CorporateInfo/Data/organization.html>, accessed January 20, 2022; See
     also Sony Website, “Products,” <https://www.sony.com/en/SonyInfo/products/>, accessed January 20, 2022.

                                                       16

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                Hybrid. The Walt Disney Company uses a hybrid brand architecture with some

                 product brands such as ESPN and ABC not inherently connected to the corporate

                 brand, but with some product brands with direct links to the corporate brand (e.g.,

                 The Walt Disney Studios).


                           Figure 3: Disney’s Hybrid Brand Architecture57




57
     Identity Wise, Perspectives on Branding, “House of Brands, Branded House or Somewhere in Between?”
     Franikie+Fiorella, <https://frankefiorella.com/identitywise/house-of-brands-branded-house-or-somewhere-in-
     between/>, accessed January 20, 2022.

                                                       17

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                  Hybrid. Coca-Cola brands a variety of soda products with the Coca-Cola or Coke

                   name (e.g., Coca-Cola, Coca-Cola Flavors, Coca-Cola Zero Sugar), but uses other

                   brand names for different product categories (e.g., Minute Maid for juices and fruit

                   drinks and Dasani for bottled water).


                         Figure 4: Coca-Cola’s Hybrid Brand Architecture58




         D.        Factors Outside of a Company’s Brand Management Efforts Can and Often
                   Do Influence Consumer Brand Associations

         30.       While a company may promote a certain brand image using a mix of marketing

communications (e.g., advertising, sales promotions, public relations),59, factors outside of a

company’s brand management efforts can also contribute to how a brand is perceived, as I

discussed above. I find that companies are generally aware of the risks posed by external factors

and that some companies, including Block, Inc., even disclose these reputational risks to the public.

For example, in its 2020 Form 10-K filed with the U.S. Securities and Exchange Commission



58
     The Coco-Cola Company Website, <https://us.coca-cola.com/>, accessed January 20, 2022; See also, Ned
     Dymoke, “10 Companies that Control Just about Everything You Eat,” Big Think, April 10, 2017,
     <https://bigthink.com/technology-innovation/10-companies-own-you-and-what-you-eat/>, accessed January 20,
     2022.
59
     Kotler, Philip and Kevin Lane Keller, Marketing Management, 15th Ed., Pearson, 2016, pp. 559-560.

                                                      18

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(“SEC”), Block, Inc. (then Square, Inc.) disclosed to investors that “[its] business depends on a

strong and trusted brand” and that “[h]arm to our brand can arise from many sources,”60 including

external factors. For example, Square, Inc. cautioned:

                 We have also been […] the target of incomplete, inaccurate, and
                 misleading or false statements about our company and our business
                 that could damage our brand and deter customers from adopting
                 our services. Any negative publicity about our industry or our
                 company […] could adversely affect our reputation and the
                 confidence in and use of our products and services. If we do not
                 successfully maintain a strong and trusted brand, our business
                 could be materially and adversely affected. 61

         31.     As evidenced by this disclosure, Block, Inc. understands that external factors

outside of its control may damage or otherwise influence how the public perceives its brand. H&R

Block’s filings include similar disclosures regarding reputational harm that could be inflicted by

external factors. For example, H&R Block’s 2020 Form 10-K states that “[its] business depends

on [its] strong reputation and the value of [its] brands” and warns that “[a]dverse publicity (whether

or not justified) relating to events or activities involving or attributed to us […] which may be

enhanced due to the nature of social media, may tarnish our reputation and reduce the value of our

brands.”62

         32.     There are many examples of consumers’ brand associations being altered due to

unexpected events or “crises” outside of a company’s brand management efforts. For example, in

1982, seven people in Chicago died after taking capsules of Johnson & Johnson’s Extra-Strength

Tylenol that had been contaminated with cyanide.63 The U.S. Food and Drug Administration

issued a warning to the public and Johnson & Johnson ordered one of the largest-ever recalls for




60
     Square, Inc., Form 10-K for the fiscal year ended December 31, 2020, p. 20.
61
     Square, Inc., Form 10-K for the fiscal year ended December 31, 2020, p. 20.
62
     H&R Block, Inc., Form 10-K for the fiscal year ended April 30, 2021, p. 11.
63
     McFadden, Robert D., “Poison Deaths Bring U.S. Warning on Tylenol Use,” The New York Times, October 2,
     1982.

                                                     19

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the industry at that time.64 The incident had damaging consequences for the Johnson & Johnson

brand as it prompted “widespread fears” that consumers would continue to be hurt by the product.65

As another example, in 2016, a Colorado bookstore named “Isis Books & Gifts” was forced to

change its sign after its sign was smashed and owners harassed.66 Even though the bookstore did

not intend to be associated with the terrorist network, that association formed in the minds of

consumers and not only damaged the brand, but also forced the bookstore to change the name on

its sign entirely.67 When a brand is damaged, this reputational harm can also be magnified by the

media. Social media, for example, may act as an “amplifier of information about brands”68 and, as

a result, play a meaningful role in shaping consumer perceptions and associations.

         33.     While publicity (positive or negative) stemming from one-time events can have

reputational consequences, the way in which consumers interact with a brand on a regular basis

can also shape brand perceptions and associations. This is true even for corporations that have

adopted a “House of Brands” architecture, where the company’s marketing strategy deliberately

maintains distance between its product brands and corporate identity. In these cases, media

coverage can nonetheless establish linkages between corporate and product brands, and thus

influence how those brands are perceived.

         34.     For example, Waymo was founded in 2009 as Google’s self-driving car project, but

was not branded with the Google name.69 Waymo garnered attention from the public and media,




64
     McFadden, Robert D., “Poison Deaths Bring U.S. Warning on Tylenol Use,” The New York Times, October 2,
     1982.
65
     McFadden, Robert D., “Poison Deaths Bring U.S. Warning on Tylenol Use,” The New York Times, October 2,
     1982.
66
     Flood, Alison, “US bookstore changes Isis branding after attacks,” The Guardian, January 5, 2016.
67
     Flood, Alison, “US bookstore changes Isis branding after attacks,” The Guardian, January 5, 2016.
68
     Keller, Kevin Lane, Strategic Brand Management: Building, Measuring, and Managing Brand Equity, Fifth
     Edition, 2020, Pearson, p. 491.
69
     Waymo Website, “Waymo Story,” <https://waymo.com/company/#story>, accessed January 20, 2022.

                                                     20

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and I observe that the media frequently associated the Waymo brand with Google, as shown in the

image below.


               Figure 5: Select Media Coverage Associating Waymo with Google70




         35.     In 2015, Google announced a restructuring and became a wholly-owned subsidiary

of Alphabet, Inc.71 In 2017, Waymo became an independent autonomous driving technology

company under the Alphabet brand.72 Media recognized the change, and subsequent discussion

of Waymo in the media frequently associates the Waymo brand with Alphabet. Examples of this

media coverage are provided in the image below.




70
     See also, Exhibit 3.
71
     Hern, Alex, “Why Google is restructuring, why the name Alphabet and how it affects you,” The Guardian,
     August 11, 2015.
72
     Waymo Website, “Waymo Story,” <https://waymo.com/company/#story>, accessed January 20, 2022.

                                                       21

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               Figure 6: Select Media Coverage Associating Waymo with Alphabet73




         36.     As another example, Microsoft launched Xbox in 2001 as a response to Sony’s

successful launch of the PlayStation gaming consoles.74 Since 2001, the Xbox brand has grown

and evolved into Microsoft’s “gaming brand across all devices,”75 and is ranked as one of the top

brands in the world.76 In 2019, Microsoft rebranded Microsoft Studios (its game development

arm) as Xbox Game Studios to leverage the Xbox brand.77 Since 2001, the Xbox brand logo has

not featured the Microsoft name, as shown in Figure 7 below, but I find nevertheless that media

coverage of Xbox often associates the brand with Microsoft. I provide select examples of this

media coverage in Figure 8.



73
     See also, Exhibit 3.
74
     “Xbox and PlayStation: How Sony and Microsoft changed the way we play video games,” USA Today,
     November 14, 2020.
75
     Booty, Matt, “Introducing Xbox Game Studios,” Xbox, February 5, 2019, <https://news.xbox.com/en-
     us/2019/02/05/introducing-xbox-game-studios/>, accessed January 20, 2022.
76
     Dalton Cooper, “Report: Xbox Brand is More Valuable than Sony and Nintendo,” Gamerant, June 17, 2019.
77
     Booty, Matt, “Introducing Xbox Game Studios,” Xbox, February 5, 2019, <https://news.xbox.com/en-
     us/2019/02/05/introducing-xbox-game-studios/>, accessed January 20, 2022.

                                                     22

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                                Figure 7: Evolution of the Xbox Logo78




               Figure 8: Select Media Coverage Associating Xbox with Microsoft79




         37.     These examples show how even for companies that have adopted a “House of

Brands” architecture, the media can establish and reinforce linkages between corporations and

their product brands. In the next section, I discuss the results of my empirical analysis that


78
     Logos-World Website, “Xbox Logo,” <https://logos-world.net/xbox-logo/>, accessed January 21, 2022.
79
     See also, Exhibit 3.

                                                      23

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quantitative confirmation of the role of the media in perpetuating linkages between corporations

and their product brands.


IV.       EMPIRICAL ANALYSIS SHOWS THAT MEDIA COMMONLY ESTABLISH
          LINKAGES BETWEEN CORPORATE AND PRODUCT BRANDS, EVEN FOR
          COMPANIES THAT EMPLOY A “HOUSE OF BRANDS” ARCHITECTURE

          38.      A company’s marketing strategy will be informed by its brand architecture, and one

motivation for adopting a “House of Brands” architecture could be to attempt to limit associations

between a product brand and other brands within the architecture, including the corporate brand.

As discussed in Section III.D, however, factors outside of a company’s brand management efforts

can influence consumer brand associations, so consumers may nevertheless associate product and

corporate brands within a “House of Brands” architecture.

          39.      To examine how external factors may influence brand associations within a “House

of Brands” architecture, I conducted an empirical analysis of media articles discussing select

product brands and their owners. First, as shown in Table 1 below, I selected 12 pairs of product

and corporate brands that fall within a “House of Brands” architecture, including seven pairs in

the technology sector. Second, relying on the Dow Jones Factiva news archive, which provides

access to news articles going back over 40 years and from more than 30 thousand sources80, I

determined how many news articles (published over approximately the last five years) discuss the

product brands in question. As shown in Column B, I find that the number of news articles

discussing these brands ranged from 417 (Beats Fit Pro) to nearly 695K (YouTube).




80
      “Factiva provides access to a global news archive going back more than 40 years, a collection of ~33,000
      sources (both licensed sources and crawled websites) in 28 languages from over 200 countries and territories.
      This collection includes local and global newspapers, newswires, trade journals, newsletters, magazines,
      transcripts, and thousands of pictures from 6 sources, including Reuters Pictures and Tribune Photo Service.
      Factiva offers access to ~18,000 licensed sources, and over ~13,000 key Websites and Blogs that have a rolling
      90-day archive.” Dow Jones Factiva, “How many sources are available in Factiva?”
      <https://customer.dowjones.com/faq/list/3831?pos=2&page=1> (subscription required).

                                                         24

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  Table 1: Media Articles Referencing Associations of Corporations and Product Brands
                                       2017-2021




       40.     Last, I determined the number of news articles that discussed both the product brand

and its owner (Column A), and divided these counts by the corresponding numbers of articles that

mentioned only the product brands (Column B). For each product brand, the resulting ratio

conveys how often a product brand is associated with its owner in the media (Column C). For

every row in the table, there are articles linking the product brand with the corporate brand. There

is substantial variation in the ratios that I compute for these product/corporate brand pairs, with

values ranging from close to 0 percent to above 90 percent. I conclude that, to varying extents,

                                                25

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the media associates all of the product brands in my analysis with their owners despite the fact that

these pairs exist within a “House of Brands” architecture.

         41.       I observe that some of the corporate brands included in this analysis also serve as

brands for product offerings (e.g., Apple and Toyota), while others do not (e.g., Alphabet and

Unilever). I observe that, in either case, the extent to which media link product and corporate

brands can be high relative to the other listed brand pairs. For example, I find that 91 percent of

media articles that mention Beats Fit Pro also mention Apple, while 42 percent of media articles

that mention Waymo also mention Alphabet. Thus, my analysis demonstrates not only that the

media commonly establishes linkages between corporate brands and product brands that exist

within a “House of Brands” architecture, but also that this result is not contingent on the owner

being a consumer-facing brand.

         42.      As an additional observation, I note that the reverse might be true as well; that is,

that a significant number of media articles mentioning a corporate brand might also reference the

product brand within the same “House of Brands” architecture. For example, I discovered that for

the time period October 28, 2021 (when Facebook rebranded as Meta) to the end of 2021, 57

percent of articles that mentioned “Meta” also included a reference to Facebook.81

         43.      To gain a greater understanding of the results displayed in Table 1, I engaged with

manual review of a sample of articles for each brand pair. Consistent with my ex ante expectations,

my review found that articles that jointly referenced the product brand and the corporate brand

were a mix between articles that explicitly identified some corporate relationship between the two,

and articles that did not identify such a relationship, which I term "false positives." This finding

indicates that the percentages calculated in Table 1, if updated to account for the presence of false



81
     For this time period, I identified 14,165 articles that mentioned Meta, and 8,039 articles that mentioned both
     Facebook and Meta, or approximately 57 percent.

                                                          26

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positives, would generally decrease. However, this finding also indicates that these percentages, if

updated to account for the presence of false positives, would still support the conclusion that media

articles contain linkages between corporate brands and product brands, and that the extent of this

linkage can vary based on the brand pair. I use the insights gleaned from this manual review in

two ways. First, given the variation in linkage across brand pairs, I conclude that best way to

analyze potential future media linkage between Cash App and "Block" is to analyze historical

linkage between Cash App and "Square". Second, I conclude that in conducting this analysis of

historical linkage between Cash App and "Square", it is important to conduct a manual review of

a sufficiently sized sample of articles to account for the potential presence of false positives. I

discuss this analysis further in Section VI.A.


V.     THE USE OF “BLOCK” AS A CORPORATE BRAND BY A COMPETITOR
       OFFERING TAX PREPARATION SERVICES CREATES THE POTENTIAL FOR
       CONFUSION WITH H&R BLOCK

       A.      Brands Are of Particular Importance to Consumers in Tax Preparation and
               Personal Financial Services

       44.     As I discuss in Section III.B, brands have the potential to be highly valuable

company assets when managed properly. In fact, and as I discuss below, brands can be particularly

valuable for companies operating in certain industries including, for example, providers of tax

preparation and personal financial services.

       45.     In studying the role that brands play in influencing consumers’ purchasing

decisions, researchers often group goods and services into three categories: search goods,

experience goods, and credence goods. While consumers can assess the characteristics of search

goods (such as furniture and clothing) by visually examining them, consumers can evaluate the

quality of experience goods (such as beauty salons and vacations) only once the service has been

purchased and provided. Credence goods, such as legal services and medical exams, may be


                                                 27

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difficult for consumers to evaluate even after the services have been provided.82 As a result,

purchases of experience and credence goods are higher risk, and some consumers may choose to

manage this risk by purchasing from well-known providers.83 Brands, thus, are particularly

important signals of quality to consumers of experience and credence goods.84

         46.      Tax preparation and personal financial services, like those offered by H&R Block,

are generally high in experience and credence qualities, and researchers find that consumers of

these types of services are loyal to providers who satisfy them.85 In the tax preparation services

industry, in particular, consumers typically return to a firm that they trust.86 In addition, because

customers typically purchase tax preparation services only once a year subject to an externally

imposed deadline, choosing trusted, well-known brands may be a helpful “short cut” that relieves

customers of the time-consuming burden of researching potential options. My review of marketing

materials from leaders in the tax preparation services industry reveals that these companies do, in

fact, make an effort to promote trust in their corporate brands. For example, as shown below, H&R

Block guarantees that it will get customers the biggest refund possible. By offering to refund the

cost of its tax preparation services if the customer discovers that he or she was owed a bigger

refund, H&R Block aims to eliminate some of the risk inherent in purchasing a service high in




82
     Lane Keller, Kevin and Vanitha Swaminathan, Strategic Brand Management: Building, Measuring, and
     Managing Brand Equity, Fifth Ed., Pearson, 2020, p. 7.
83
     Lane Keller, Kevin and Vanitha Swaminathan, Strategic Brand Management: Building, Measuring, and
     Managing Brand Equity, Fifth Edition, Pearson, 2020, p. 7.
84
     Lane Keller, Kevin and Vanitha Swaminathan, Strategic Brand Management: Building, Measuring, and
     Managing Brand Equity, Fifth Edition, Pearson, 2020, p. 7.
85
     Kotler, Philip and Kevin Lane Keller, Marketing Management, 15th Ed., Pearson, 2016, p. 401.
86
     Because purchasers of experience and credence goods are loyal to providers that they trust, succeeding in
     providing a high quality of service and promoting brand trust can allow a provider to attract and retain
     customers over time. In fact, industry analysts observe that providers in the tax preparation services industry do,
     in fact, compete on customer service and satisfaction in order to retain customers. Patel, Kush, “Tax Preparation
     Services in the US” (Industry Report 54121D), IBISWorld, December 2020, p. 27.

                                                          28

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experience and credence qualities. By emphasizing the expertise of its tax advisors and transparent

pricing87, similarly, H&R Block endeavors to promote trust between provider and consumer.


               Figure 9: Maximum Refund Guarantee from H&R Block Website88




         47.     Intuit Inc.’s TurboTax, a competitor to H&R Block, has adopted a similar strategy

to promote brand trust. For example, TurboTax advertises “10 ways TurboTax has you covered”

that includes, inter alia, its “world class” teams of tax professionals, its innovative technology,

and a guarantee that it will find the maximum refund possible for its customers.89 In fact, TurboTax

represents that its online tax returns are backed by a total of five different guarantees,90 messaging

designed to promote confidence in the TurboTax brand. Liberty Tax Inc., another industry player,91

reports ratings from Google reviewers on its website, using evidence of customer satisfaction as a

means of earning the trust and confidence of potential customers.92



87
     For example, H&R Block emphasizes that its tax professionals have “an average of 10 years’ experience” and
     offers “[u]pfront transparent pricing” with a “No Surprise Guarantee.” H&R Block Website, Taxes,
     <https://www.hrblock.com/filing-options-and-products/>, accessed January 16, 2022.
88
     H&R Block Website, Homepage, <https://www.hrblock.com>, accessed January 19, 2022.
89
     TurboTax Website, “10 ways TurboTax has you covered,” <https://turbotax.intuit.com/personal-
     taxes/online/turbotax-has-you-covered/>, accessed January 16, 2022.
90
     TurboTax Website, “TurboTax Online Guarantees,” <https://turbotax.intuit.com/corp/guarantees/>, accessed
     January 16, 2022.
91
     Patel, Kush, “Tax Preparation Services in the US” (Industry Report 54121D), IBISWorld, December 2020, pp.
     30-32.
92
     Liberty Tax Inc. Website, <https://www.libertytax.com>, accessed January 16, 2022.

                                                       29

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         48.     I observe that similar strategies are employed by providers of personal financial

services. For example, from 2003 to 2007, Bank of America promoted its services using the slogan

“Higher Standards.”93 Introduced in the aftermath of a number of Wall Street scandals, Bank of

America’s slogan may have been designed to distance the bank from these scandals and promote

an image of trust and integrity. The slogan was popular with consumers,94 which supports the view

that brands are important signals of quality for consumers of experience and credence goods. I

observe a similar emphasis on trust with respect to H&R Block’s strategic approach to marketing

its financial services. In discussing the company’s Financial Products segment in H&R Block’s

Annual Report for 2021, President and CEO Jeffrey J. Jones observed: “By leveraging our trusted

brand […] we will accelerate growth in this area to a more meaningful part of our business….”95

         49.     Historically, companies that offer experience and credence services have invested

heavily in promoting their brands as a means of differentiating their offerings. Because the services

provided by these companies are generally highly regulated (and may be viewed by consumers as

near-commodities) firms in these industries aim to develop brands they hope consumers will be

familiar with. For example, many consumers may recognize the slogans and celebrity

spokespeople used by American Express and Capital One, insurer Aflac’s duck mascot, and State

Farm’s fictional representative “Jake.” Critically, these companies hope that consumers will

recognize their brands even if they do not have a close understanding of the goods and services

they provide, and that that familiarity will promote brand trust.

         50.     Based on a review of financial information, I find that providers of experience and

credence goods (including tax prepartion and personal financial services) do appear to invest

heavily in developing and maintaining brand image. For example, American Express reported total


93
     Dash, Eric, “Bank of America Tagline Has Run Its Course,” The New York Times, February 20, 2007.
94
     Dash, Eric, “Bank of America Tagline Has Run Its Course,” The New York Times, February 20, 2007.
95
     H&R Block, 2021 Annual Report, p. 2 (emphasis added).

                                                      30

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marketing and business development expenses of $7.1 billion in 2019 and $6.7 billion in 2020.96

Aflac Inc. reported total advertising expenses of $219 million and $184 million in 2019 and 2020,

respectively, also noting that its duck mascot “has become one of the most familiar advertising

icons in the world”.97 Square, Inc. reported advertising costs of $224.7 million for 202098, while

H&R Block reported marketing and advertising expenses of $262.0 million, $255.1 million, and

$269.8 million for fiscal years 2021, 2020, and 2019,99 respectively. Intuit, Inc. reported

advertising expense of approximately $1.1 billion for the 2021 fiscal year.100 The considerable

marketing expenses incurred by these companies support the view that providers of services high

in experience and credence qualities understand the importance of their brands as signals of

quality, and invest heavily in protecting their brands as a result. Consistent with this view, I observe

that of the “Top 100” brands identified by Interbrand for 2021, at least 12 brands relate to providers

of financial services and insurance.101 I discuss H&R Block’s extensive brand promotion efforts

further below.

          51.     Prof. Wind asserts that tax preparation services are high-involvement and that for

such high-involvement services, consumers are “often closely attuned to differences between

brands, and actively research such differences themselves before making a purchase.”102 Yet, Prof.

Wind fails to provide any evidence that tax preparation service consumers actually engage in this

type of research. Even if some consumers do, as Prof. Wind posits, engage in research to discern

differences across a set of trusted tax preparation products, this does not mean that all or even an

appreciable percentage do so.           Consumers are not identical in their preferences or buying


96
      American Express Company, Form 10-K for the fiscal year ended December 31, 2020, p. 47.
97
      Aflac Inc., Form 10-K for the fiscal year ended December 31, 2020, pp. 2, 152.
98
      Square, Inc., Form 10-K for the fiscal year ended December 31, 2020, p. 93.
99
      H&R Block, Form 10-K for the fiscal year ended April 30, 2021, p. 45.
100
      Intuit, Inc., Form 10-K for the fiscal year ended July 31, 2021, p. 67.
101
      These include: J.P. Morgan, American Express, Allianz, Visa, PayPal, Axa, MasterCard, Citi, Goldman Sachs,
      HSBC, Morgan Stanley, and Santander. “Best Global Brands 2021,” Interbrand, 2021, pp. 9-12.
102
      Wind Declaration, ¶ 68.

                                                        31

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processes, and all tax filers face strict deadlines for filing their taxes. As I note above, I would

argue that because customers typically purchase tax preparation services only once a year subject

to an externally imposed deadline, consumers may opt for well-known brands in order to be spared

the time-consuming burden of researching other providers.

          52.     Further, given the importance of trust in this category, it is important to consider

the harm that could befall a brand that becomes less trusted due to an incident of consumer

confusion. Under such circumstances, some consumers may eliminate the brand from their

consideration set, even if they were to engage in research to try to discern differences among the

set of more trusted brands. In similar fashion, a new brand that is confused for a trusted brand has

the ability to benefit from this confusion, by entering the consumer’s consideration set and

potentially being selected when it otherwise would not have been considered by the consumer.


          B.      H&R Block Has a Longstanding Presence in Tax Preparation Services and
                  Has Invested in Its Brand, Including Promoting Its Associations with the Term
                  “BLOCK”

          53.     H&R Block’s presence in the tax preparation marketplace is longstanding. H&R

Block has offered tax preparation services for more than 65 years, and has prepared more than 800

million tax returns, including 21.6 million U.S. tax returns in its 2021 fiscal year.103 The company

markets itself as “the only company to offer complete choice for consumers to get tax help on their

terms with in person, online, and virtual options.”104 H&R Block offers more than 10,000 retail

locations, employing (with its franchisees) more than 70,000 tax professionals across “all 50 states,

Puerto Rico and other U.S. territories, on U.S. military bases internationally and around the



103
      H&R Block Website, “Our Company,” <https://www.hrblock.com/corporate/our-company/>, accessed January
      20, 2022; H&R Block Factsheet, <https://www.hrblock.com/corporate/pdfs/hrb-factsheet.pdf>, accessed
      January 20, 2022.
104
      H&R Block Website, “Our Company,” <https://www.hrblock.com/corporate/our-company/>, accessed January
      20, 2022.

                                                     32

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world.”105 From a marketing perspective, the storefront of each of these retail locations acts as a

billboard to advertise the company’s services and build their brand.

          54.     As discussed above, H&R Block’s annual marketing and advertising expenditures

were $262.0 million, $255.1 million, and $269.8 million in fiscal years 2021, 2020, and 2019

respectively.106 H&R Block spends their marketing and advertising budget in the following

mediums: radio, television, online, print, and mailing.107

          55.     H&R Block’s external communications have featured the term “Block” in

connection with H&R Block’s corporate brand. For example, as shown below, H&R Block’s

“Corporate Responsibility Report” for 2021 is titled “We’re Making Every Block Better” and

includes the message: “Make Every Block Better”.108 Below, I provide an overview of how the

term “Block” is featured in this report and in other external communications.




105
      H&R Block Website, “Our Company,” <https://www.hrblock.com/corporate/our-company/>, accessed January
      20, 2022; “We’re making every block better,” <https://www.makeeveryblockbetter.com/>, accessed January 20,
      2022.
106
      H&R Block, Inc., Form 10-K for the fiscal year ended April 30, 2020, p.45.
107
      H&R Block, Inc., Form 10-K for the fiscal year ended April 30, 2020, p.45.
108
      “2021 Corporate Responsibility Report,” H&R Block, 2021, <https://www.makeeveryblockbetter.com/H&R-
      Block-Corporate-Social-Responsibility-2021.pdf>, accessed January 20, 2022.

                                                       33

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  Figure 10: H&R Block’s Corporate Responsibility Report, “We’re Making Every Block
                                      Better”109




                 The corporate responsibility report notes the breadth of the impact of its “Make

                  Every Block Better” program, as depicted in the image below. The report also

                  observes that “since the launch of Make Every Block Better in December 2019,

                  H&R Block associates, franchisees, and franchise employees have recorded more

                  than 205,000 total volunteer hours.”110




109
      See also, Exhibit 3.
110
      “2021 Corporate Responsibility Report,” H&R Block, 2021, <https://www.makeeveryblockbetter.com/H&R-
      Block-Corporate-Social-Responsibility-2021.pdf>, accessed January 20, 2022, p. 12.

                                                     34

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                   Figure 11: Breadth of Impact of “Making Every Block Better”111




                  The “Make Every Block Better” website includes a quote from an H&R Block

                   employee referencing his office as “Our Block office”:


            Figure 12: H&R Block Employee Quote Regarding “Our Block Office”112




                  H&R Block employees participating in the “Make Every Block Better” initiative

                   wear clothing with the word “Block” in green as seen below:




111
      See also, Exhibit 3.
112
      See also, Exhibit 3.

                                                  35

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Figure 13: H&R Block Employees and Their Families Wearing “Block” Branded Clothing
            While Participating in the “Make Every Block Better” Initiative”113




                  H&R Block’s investor relations materials include a theme of green blocks below,

                   and use the title “Block Horizons 2025” to describe the company’s “next phase of

                   strategic transformation.


 Figure 14: Use of Green Blocks and “Block Horizons” on H&R Block’s Investor Relations
                                        Website114




113
      See also, Exhibit 3.
114
      See also, Exhibit 3.

                                                  36

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                   H&R Block’s 2021 Investor Deck Presentation refers to one of the company’s three

                    strategic initiatives as the “Block Experience”:


            Figure 15: H&R Block Investor Deck Presentation “Block Experience”115




          56.       In addition to the above information, I reviewed the declaration of Jeffery J. Jones

regarding H&R Block’s promotion of the “BLOCK” family of marks.116 This testimony was

consistent with my assertions above that H&R Block has, in fact, invested significantly in

promoting brand associations with the term “BLOCK.” The following examples further illustrate

this point:

                   H&R Block “has invested billions of dollars to advertise and promote the BLOCK

                    Marks and brand.”117




115
      H&R Block Investor Deck, December 2021, p. 14.
116
      Declaration of Jeffery J. Jones II, H&R Block, Inc. and HRB Innovations, Inc. v. Block, Inc., United States
      District Court For the Western District of Missouri, Case No. 4:21-cv-00913-NKL, January 21, 2022 (“Jones
      Declaration”).
117
      Jones Declaration, ¶ 4.

                                                         37

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                   “[W]e, along with the media and regulators, also frequently refer to our company

                    as BLOCK, and, therefore, our customers also know us as BLOCK."118

                   “[H&R] Block has invested significant resources in advertisements using BLOCK

                    alone. For instances [sic], Block invested over $100 million in television and online

                    video advertising alone to promote the tagline ‘BLOCK HAS YOUR BACK.’”119

          57.       H&R Block has invested millions of dollars in paid search advertising that

associates H&R Block with the term “Block.” Phrases such as: “Switch to Block”; “More than

Block”; and “Free with Block” have been used in paid search advertising.120 Additionally, H&R

Block also bids on paid search keywords that feature “BLOCK” such as “block tax” and “myblock

com.”121


          C.        Consumer Evidence Indicates that Consumers Associate H&R Block with
                    “Block”

          58.       Consumer evidence indicates that consumers associate H&R Block with the term

“Block,” including the following examples of consumer reviews from Amazon.




118
      Jones Declaration, ¶ 8.
119
      Jones Declaration, ¶ 11.
120
      Jones Declaration, ¶ 15.
121
      Jones Declaration, ¶ 15.

                                                     38

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      Figure 16: Customer Reviews from Amazon Associating H&R Block With “Block”122




122
      See also, Exhibit 3.

                                           39

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          59.      I also considered a consumer survey conducted by Dr. Deborah Jay, an expert

retained by counsel for H&R Block.123 Dr. Jay’s survey, conducted between January 18, 2022 and

January 20, 2022, asked respondents: “Have you ever seen or heard of this brand of tax product or

service: [NAME]”, where [NAME] cycled through each of the following seven brands in random

order: 1040.COM; BLOCK; DYO RETURNS; JACKSON HEWITT; LIBERTY TAX; OLT;

TURBOTAX.124 Respondents had the option of selecting one of three responses: “Yes, have seen

or heard of this brand”; “No, have not seen or heard of this brand”; “Don’t know”.125 Dr. Jay’s

survey found that “47% of the survey respondents indicated they had seen or heard of a tax product

or service with the BLOCK brand name,” whereas only 2 percent said the same for “DYO

RETURNS”, which was a fictitious brand.126 The net percentage of 45 percent is consistent with

other consumer-based evidence presented in this section that consumers recognize and use “Block”

to identify H&R Block as a provider of tax products and services.

          60.      Google Trends is a website that allows one to study the relative prevalence of

different searches made through the Google search engine. As shown below in Figure 17, Google

Trends results illustrate that “block taxes” has trended seasonally with “h&r block taxes” since

2004. In fact, searches for “block taxes” exceed searches for “h&r block taxes”, suggesting that

consumers are more likely to seek out H&R Block’s website through the Google search engine

using the term “block” in conjunction with “taxes” than the term “h&r block” in conjunction with

“taxes”. I observe a similar pattern when comparing “block tax” to “h&r block tax”, as shown in

Figure 18.




123
      Rebuttal Declaration of E. Deborah Jay In Support Of Plaintiffs’ Motion For A Preliminary Injunction, H&R
      Block, Inc. and HRB Innovations, Inc. v. Block, Inc., United States District Court For the Western District of
      Missouri, Case No. 4:21-cv-00913-NKL, January 21, 2022 (“Jay Declaration”).
124
      Jay Declaration, ¶¶ 5, 10-11.
125
      Jay Declaration, ¶ 10.
126
      Jay Declaration, ¶ 14.

                                                           40

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  Figure 17: Google Trends Comparison of “block taxes” and “h&r block taxes” searches,
                                    2004-present127




127
      See also, Exhibit 3.

                                          41

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      Figure 18: Google Trends Comparison of “block tax” and “h&r block tax” searches,
                                      2004-present128




          61.     Google Trends also provides data on “related queries.” For example, if a consumer

searched for “block taxes”, and also searched for "file taxes", then these two searches would be

considered related queries. Google Trends presents, for a given search term, the most popular

related queries. As shown below in Figure 19, among all users who searched for “block taxes”

during 2004 to present, the two most popular related queries were “taxes h&r block” and “h&r

block”. In fact, 7 of the top 10 searches related to “block taxes” referenced H&R Block. I observe

similar results for “block tax”: 8 of the top 10 searches related to “block tax” referenced H&R

Block.129




128
      See also, Exhibit 3.
129
      Google Trends, <https://trends.google.com/trends/explore?date=all&geo=US&q=block%20tax>, accessed
      January 21, 2022.

                                                     42

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      Figure 19: Users Searching for “block taxes” Also Performed Searches Specifically for
                                          H&R Block130




130
      See also, Exhibit 3.

                                               43

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          62.      As Prof. Wind observes, the “advent of internet search functions” has given today’s

consumers the option of “searching for products and services,” and “consumers are increasingly

likely to conduct online searches before making a purchase… .”131 It is striking, then, that neither

Prof. Wind nor Prof. Dhar consider evidence from consumer internet searches like those I present

above.

          63.      Indeed, Prof. Wind and Prof. Dhar fail to recognize any evidence of consumer

associations between H&R Block and “Block”, though as I show above, such evidence clearly

exists. Instead, Prof. Wind and Prof. Dhar focus their attention on the extent to which H&R

Block’s marketing communications using “Block” have also contained H&R Block branding.

Prof. Wind seeks “to see if H&R Block’s own branding and marketing rely on the standalone word

‘Block’ or a green square logo without other H&R Block branding.”132 He concludes that “even

when H&R Block refers to itself as ‘Block’ on a webpage or slogan, it is, and has been over time,

in the context of the use of its full name” and that “H&R Block’s use of its green square logo is,

and has been over time, routinely accompanied by the name ‘H&R Block.’”133 He states that “H&R

Block’s own marketplace behavior does not reflect a position that ‘Block’ by itself represents the

company, and that H&R Block itself does not believe consumers associate H&R Block with

‘Block.’”134 Prof. Dhar reviews “examples provided by H&R Block to the Court” of H&R Block’s

advertising and communications to consumers and concludes that “‘Block’ by itself is not a source

identifier for H&R Block” because it is “used in proximity with the full ‘H&R Block’ name…

.”135




131
      Wind Declaration, ¶¶ 67, 69.
132
      Wind Declaration, ¶ 48.
133
      Wind Declaration, ¶ 7.
134
      Wind Declaration, ¶ 60.
135
      Dhar Declaration, ¶ 54.

                                                   44

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          64.     In reaching these conclusions, Prof. Wind and Prof. Dhar commit two critical

oversights. The first oversight stems from their failure to consider evidence on whether consumers

associate “Block” by itself with H&R Block. While evidence on how a company conducts its

marketing communications provides helpful context to understanding the associations that

consumers may make, evidence on the actual associations that consumers have, when available, is

of particular importance to consider. As shown above, consumers do indeed use “Block” to

identify H&R Block. The second oversight is based in flawed logic that if the term “Block” always

has a nearby occurrence of “H&R Block” in H&R Block’s marketing communications, then

“Block” cannot possibly serve as a source identifier for H&R Block. This view ignores that the

joint occurrence of “H&R Block” and “Block” in marketing communications is a way to build

associations between the two in the minds of consumers, to a degree that “Block” may in fact serve

to identify H&R Block. The consumer-based evidence above indicates that H&R Block has indeed

been successful in cultivating “Block” as a source identifier.

          65.     In addition, Prof. Wind and Prof. Dhar fail to recognize that many brands can be

identified by either a longer form or shorter form name, and many brands have embraced a

shortened form of their name. For example: Starbucks was branded as Starbucks Coffee before

deciding to remove “Coffee”;136 Kentucky Fried Chicken adopted the abbreviation KFC as a brand

identifier;137 Dunkin’ Donuts rebranded to Dunkin’;138 and Weight Watchers rebranded to WW.139

My employer, the Joseph A. Wharton School, is commonly recognized as “Wharton”, and is


136
      Lisa Baertlein, “Starbucks cuts name and "coffee" from logo,” Reuters, January 5, 2011,
      <https://www.reuters.com/article/us-starbucks/starbucks-cuts-name-and-coffee-from-logo-
      idUSTRE7045YF20110106>, accessed January 20, 2022.
137
      Emily DiNuzzo, “The Real Reason KFC Changed Their Name from Kentucky Fried Chicken,” Yahoo News,
      March 28, 2019, <https://news.yahoo.com/real-reason-kfc-changed-name-152801317.html>, accessed Janaury
      20, 2022.
138
      Kate Taylor, “Dunkin' Donuts is officially dropping the 'Donuts' from its name despite earlier backlash,”
      Business Insider, September 25, 2018, <https://www.businessinsider.com/dunkin-donuts-changes-name-no-
      donuts-2018-9>, accessed January 20, 2022.
139
      Miller, Jess, “Weight Watchers Isn’t Fooling Anyone,” Slate, March 8, 2021.

                                                       45

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affiliated with the University of Pennsylvania, which is commonly recognized as “Penn” or

“UPenn”. Consumers commonly encounter these shortened forms of brands, and it is clear that

they can perceive both the longer and shorter forms as source identifiers, even when both forms

are presented together. For example, the University of Missouri is commonly recognized as

“Mizzou”, and these two identifiers are presented together in the web page banner for the

university.


                         Figure 20: “University of Missouri” and “Mizzou”140




          66.      Prof. Wind also reviews “how H&R Block markets itself on third-party websites

such as Wal-Mart, Target, and Amazon”141 as well as whether “H&R Block relied on ‘Block’

without any source-identifying language in its [search engine optimization] marketing efforts.”142

He concludes that consumers at Wal-Mart, Target, and Amazon “see the products listed with the

full ‘H&R Block’ name and its green square logo”143 and that H&R Block “does not use ‘block’

in its online Search Engine Optimization (SEO) strategy.”144 But taking these conclusions at face

value, neither implies that “Block” cannot serve as a source identifier for H&R Block, just as usage

of “University of Pennsylvania” does not imply that “Penn” cannot serve as a source identifier for

that institution. In fact, as I demonstrated above, Amazon customers do use “Block” to refer to

“H&R Block”, notwithstanding Prof. Wind’s claims about H&R Block’s marketing on Amazon.


140
      University of Missouri Website, <https://missouri.edu/>, accessed January 20, 2022.
141
      Wind Declaration, ¶ 49.
142
      Wind Declaration, ¶ 50.
143
      Wind Declaration, ¶ 56.
144
      Wind Declaration, ¶ 57.

                                                         46

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          67.     Prof. Dhar asserts that “Block” in isolation is unlikely to be seen as an identifier of

source for H&R Block due to “hundreds of active registered trademarks that use BLOCK in their

names.”145 Again, this view is contradicted by the above consumer-based evidence. Moreover,

use of “Block” by companies in other product categories does not bear on whether it may identify

H&R Block in the context of H&R Block’s product categories, just as the existence of Delta

Faucets does not preclude “Delta” from being a source identifier for an airline.


          D.      Consumer Exposure to a Competitor’s Use of “Block” Introduces the Potential
                  for Confusion with H&R Block

          68.     Having established that H&R Block has cultivated consumer brand associations

with “H&R Block” and “Block”, I now assess the key conditions under which another company’s

use of “Block” would introduce the potential for confusion with H&R Block. These conditions

are: (i) that the company is a competitor to H&R Block, i.e., the company offers a product or

service that overlaps with the products or services offered under the H&R Block brand; and (ii) that

consumers are exposed to that company’s use of “Block” to identify either itself as a company or

its overlapping product or service. These conditions are applicable regardless of whether one

accepts Prof. Wind’s and Prof. Dhar’s view that “Block” does not serve as a source identifier for

H&R Block, or one accepts my view that “Block” does in fact serve as a source identifier for H&R

Block. In the former case, the assumed competitor’s “Block” has substantial overlap with the

source identifier “H&R Block”; in the latter case, the assumed competitor’s use of “Block” has

complete overlap with the source identifier “Block”. Therefore, my conditions for the potential

for confusion to exist are valid regardless of whether one believes that “Block” is a source identifier

for “H&R Block”. In sum, while the potential for confusion is enhanced by H&R Block’s use of




145
      Wind Declaration, ¶ 65.

                                                    47

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“Block” as a source identifier, this does not preclude the potential for confusion in a world where

only “H&R Block” were used as a source identifier.

          69.       Block, Inc. asserts that it “does not use its Block brand to sell any customer-facing

products or services at all.”146 Prof. Wind asserts that “Block is a corporate name and not the

brand of any customer-facing product or service… .”147 Prof. Dhar asserts that Block, Inc. “does

not use ‘Block’ as a brand for its Cash App Taxes service.”148 Nonetheless, one must account for

the fact that potential consumer confusion is rooted in the brand associations that reside in the

minds of consumers, rather than strictly dictated by a company’s brand management efforts. As I

have discussed above, other factors beyond a company’s brand management efforts influence

consumer brand associations. Hence, to assess the potential for confusion in this matter, one must

consider all mechanisms by which consumers may be exposed to Block, Inc.’s use of “Block” to

identify itself, in addition to analyzing Block, Inc.’s claims that its “Block brand” is not consumer-

facing.

          70.       Prof. Wind and Prof. Dhar suggest that the potential for confusion should be

evaluated in a particularly narrow context.

                   Prof. Dhar opines that “the marketplace context of how current or prospective users

                    of Cash App and Cash App Taxes use the app makes any confusion with H&R

                    Block highly unlikely.”149 But this view ignores that the relevant marketplace

                    context is not narrowly limited to how consumers “use the app”; one must consider

                    all mechanisms by which marketplace context may lead to consumer confusion.




146
      Block, Inc. Motion to Dismiss, p. 1.
147
      Wind Declaration, ¶ 70.
148
      Dhar Declaration, ¶ 17a.
149
      Dhar Declaration, ¶ 17a (emphasis added).

                                                     48

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                   Prof. Wind, meanwhile, focuses his assessment on the likelihood of consumer

                    confusion at a fixed point in time proximate to the filing of his declaration (e.g. his

                    survey data were collected between January 6-9, 2022150). But this ignores the fact

                    that Block, Inc. only recently changed its name, and that the potential for confusion

                    may strengthen over time as consumers (i) are introduced to the “Cash App Taxes”

                    tax preparation product offered by Block, Inc.; and (ii) face greater exposure to

                    linkages between “Cash App” and “Block.” My focus is not on current confusion,

                    as it has had limited time in which to materialize, but rather on the future likelihood

                    of confusion. I particularly note that the tax filing season for the U.S. will take

                    place over the coming few months, which is likely to exacerbate both of these

                    factors and strengthen the potential for confusion.

          71.       In sum, a proper assessment of the likelihood of confusion in this matter should not

be limited to a narrow marketplace context or a narrow window of time subsequent to Block, Inc.’s

name change. A proper assessment of the likelihood of confusion must take into account all

mechanisms by which consumer brand associations may be shaped by exposures to Block, Inc.’s

forthcoming “Cash App Taxes” product as well as exposures to linkages between “Cash App” and

“Block”.


VI.       CONSUMERS HAVE BEEN EXPOSED TO LINKAGES BETWEEN THE “CASH
          APP” BRAND AND “BLOCK” AS A CORPORATE BRAND, AND ARE LIKELY
          TO CONTINUE TO BE EXPOSED TO SUCH LINKAGES

          A.        Empirical Analysis Demonstrates That Media Has Historically Linked the
                    “Cash App” Brand with the Brand of Its Owner

          72.       Notwithstanding the recency of Block, Inc.’s name change, there is a longer history

available for analyzing the relationship between the “Cash App” brand and the brand of its


150
      Wind Declaration, ¶ 39.

                                                      49

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owner—specifically, the period from 2013 to late 2021 when that owner was named Square, Inc.

Media coverage of this historical time period yields clear examples of linkages between “Cash

App” and the brand of its owner. For example:

                  A July 8, 2021 article from The Verge stated that “You can already buy and sell

                   bitcoin from Square’s Cash App.”151

                  An October 28, 2021 article from CNN mentioned that “More consumers,

                   especially younger ones, are using services like Square’s Cash App and Paypal’s

                   Venmo for mobile payments.”152

                  An article published by the Wall Street Journal on December 5, 2020 indicated that

                   “Square’s Cash App has allowed customers to buy and sell bitcoin since 2018.”153

                  A Forbes article published on May 22, 2020 reiterated that “People could already

                   store money, make purchases, invest in stocks and buy bitcoin with Square’s Cash

                   App by early 2018.”154

                  “Cash App, by Square, is a convenient peer-to-peer money transfer app that allows

                   you to exchange money with friends and family on your phone, without any actual

                   money actually changing hands.” Business Insider, December 12, 2019.155




151
      Peters, Jay, “Square is going to make a hardware wallet for bitcoin,” The Verge, July 8, 2021,
      <https://www.theverge.com/2021/7/8/22569309/square-hardware-wallet-bitcoin-jack-dorsey>, accessed
      January 20, 2022.
152
      La Monica, Paul R., “Fintechs are the new corner bank, but big financial firms are fighting back,” CNN,
      October 28, 2021, <https://www.cnn.com/2021/10/28/investing/big-banks-fintechs/index.html>, accessed
      January 20, 2022.
153
      Pellejero, Sebastian, “These Investors Are Riding the Bitcoin Wave to New Highs,” The Wall Street Journal,
      December 5, 2020, <https://www.wsj.com/articles/these-investors-are-riding-the-bitcoin-wave-to-new-highs-
      11607166333>, accessed January 20, 2022.
154
      Kauflin, Jeff, “Covid Crisis May Accelerate Square’s Move Into Consumer Banking,” Forbes, May 22, 2020,
      <https://www.forbes.com/sites/jeffkauflin/2020/05/22/covid-crisis-may-accelerate-squares-move-into-
      consumer-banking/?sh=27616ae915f1>, accessed January 20, 2022.
155
      Weir, Melanie, “How to change your Cash App PIN on an Android or iPhone,” Business Insider,
      <https://www.businessinsider.com/how-to-change-cash-app-pin>, accessed January 20, 2022.

                                                        50

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                   “The following week, Peak was highlighted as the top featured app in the App

                    Store’s Finance category, alongside established industry leaders including the Cash

                    app by Square and Credit Karma.” Business Wire, February 7, 2019.156

                   “Others may have thought the implication of Dorsey's tweet was that he was

                    "boosting" Chick-fil-A, when he appeared to be promoting the "boost" or cash back

                    received when using Square’s Cash app debit card.” The Washington Post, June 11,

                    2018. 157

                   “In addition to touting new hardware, Apple announced its new mobile operating

                    system, bolstered augmented and virtual reality tools for developers, an expanded

                    Apple Pay to facilitate person-to-person money transfers (similar to Venmo and

                    Square’s Cash app), and a revamped app store.” Los Angeles Times, June 6,

                    2017.158

          73.       Drawing on the Factiva media article database, the table below shows substantial

linkage between Cash App and Square from 2017 to 2021, in terms of the share of articles

mentioning Cash App that also mention Square.159 The number of articles referencing Cash App

has been growing over time, as has the number of articles referencing Cash App and Square jointly.

This pattern is consistent with the notion that Cash App’s linkage to its owner has become stronger

and more prevalent over time.



156
      “Peak Money’s Mindfulness-Focused Savings App Recognized by Apple,” Business Wire, February 7, 2019,
      <https://www.businesswire.com/news/home/20190207005235/en/Peak-Money%E2%80%99s-Mindfulness-
      Focused-Savings-App-Recognized-by-Apple>, accessed January 20, 2022.
157
      McGregor, Jena, “Square CEO Jack Dorsey Gets Blasted From Both Sides After A Tweet About Chick-fil-A,”
      The Washington Post, <https://www.washingtonpost.com/news/on-leadership/wp/2018/06/11/square-ceo-jack-
      dorsey-gets-blasted-from-both-sides-after-a-tweet-about-chick-fil-a/>, accessed January 20, 2022.
158
      Lien, Tracey, “Apple takes on smart speakers,” PressReader, June 6, 2017,
      <https://www.pressreader.com/usa/los-angeles-times/20170606/281900183178949>, accessed January 20,
      2022.
159
      I understand that Cash App was originally named SquareCash, and Square, Inc. changed its name to Cash App
      in 2017. See, Jennings Declaration, ¶6.

                                                       51

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           Figure 21: Historical Linkage of “Cash App” to “Square” in Media Articles




          74.      To confirm the inference that can be made from the results presented in Figure 21,

I engaged with manual review of 400 articles that jointly referenced “Cash App” and “Square”

from October 15, 2013 through November 30, 2021. Of these, 365 articles were contained within

the years 2017 to 2021, corresponding to the time period during which Square, Inc. used the name

“Cash App.” I use these 365 articles to assess the rate of “false positives” (i.e., articles that contain

“Cash App” and “Square” but do not indicate an explicit relationship between the two) in each

calendar year. I conclude that the rate of false positives is low, 9 percent in the aggregate. I then

adjust the ratios in the table to account for these false positives. I find that across individual

calendar years from 2017 to 2021, the resulting percentages of media linkage between “Cash App”

and “Square” range from 27 percent to 81 percent. These findings indicate a substantial degree of

media linkage between “Cash App” and “Square” over this time period, suggesting that, with

“Block” taking the place of “Square,” future media coverage will contribute to increasingly strong

linkage between Cash App and the term “Block” as a corporate brand.

          75.      Both Prof. Wind and Prof. Dhar fail to account for this empirical evidence and,

more generally, the role of media in shaping consumer brand associations. Prof. Dhar seeks to

“describe the marketplace context of how current and prospective users encounter Cash App and

Cash App Taxes,”160 but does not recognize that media exposure is a critical piece of marketplace

context. Prof. Wind, likewise, does not recognize the importance of media.


160
      Dhar Declaration, ¶ 18.

                                                   52

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          B.       Millions of Cash App Customers Have Encountered Linkages Between Cash
                   App and Its Owner

          76.      The Cash App website directs the user to download Cash App from an app store,

as illustrated in the images below.


                Figure 22: Instruction to Download Cash App on Cash App Website161




161
      Cash App Website, <https://cash.app>, accessed January 20, 2022.

                                                        53

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      Figure 23: Instructions to “Download Cash App” on Cash App Website (Mobile)162




          77.     Clicking on these download links directs the user to an app store listing for Cash

App, which displays the Cash App name along with the name of its owner. This implies that every

user who has downloaded Cash App through one of these app stores has been exposed to this

linkage between Cash App and its owner.




162
      Cash App Website, <https://cash.app>, accessed January 20, 2022.

                                                        54

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           Figure 24: Google Play Store Listing Associating “Cash App” with Owner163




           Figure 25: Apple App Store Listing Associating “Cash App” with Owner164




163
      See also, Exhibit 3.
164
      See also, Exhibit 3.

                                              55

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          78.     I note that the Cash App Taxes website, on both desktop and mobile, contains

similar instructions to download Cash App which redirect to the above app store listings.165

          79.     Consumers have recognized the associations between Cash App and its owner, as

shown, for example, in the below posts in a forum about fraudulent transactions.


                              Figure 26: “SQC is the Square Cash App”166




                         Figure 27: “I was told Square owned CASH APP”167




165
      Cash App Taxes Website, <https://cash.app/taxes>, accessed January 20, 2022.
166
      See also, Exhibit 3.
167
      See also, Exhibit 3.

                                                        56

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Figure 28: “[M]y bank account was drained by this company, Square Up, my bank advised
                    it was done using their phone app, ‘Cash App’”168




          80.      These posts illustrate another potential mechanism by which consumers may be

exposed to linkages between Cash App and its owner. As described above, one consumer discuses

that they were informed by their bank of a fraudulent charge through Cash App, which the bank

explained was owned by Square. Another consumer post highlights the mechanism of word-of-

mouth, saying “I was told Square owned CASH APP… .” Given the recent name change from

Square, Inc. to Block, Inc., it is likely that in the future, these mechanisms would result in consumer

exposures to linkages between Cash App and “BLOCK”.

          81.      Notwithstanding the above evidence and his goal to “describe the marketplace

context of how current and prospective users encounter Cash App and Cash App Taxes,”169 Prof.

Dhar asserts that “[f]rom 2017 through December 1, 2021 (the date of the corporate name change),

Square was not used in any of the branding and marketing materials associated with Cash App.”170

The app store evidence—representing a consumer touchpoint that millions of Cash App users have

engaged with—clearly contradicts this view. Moreover, it is clear that Prof. Dhar’s review of the


168
      See also, Exhibit 3.
169
      Dhar Declaration, ¶ 18.
170
      Dhar Declaration, ¶ 48.

                                                  57

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“marketplace context” ignores the above mechanisms by which consumers may be exposed to the

owner of Cash App, as revealed by the consumer-based forum postings.

          82.       Even ignoring the above app store evidence, to the extent that Prof. Dhar is correct

that “Square was not used in any of the branding and marketing materials associated with Cash

App,”171 this observation is superseded by the fact that media and other mechanisms still exposed

consumers to linkages between Cash App and its owner, and consumers internalized these

linkages.


          C.        Block, Inc. Has Promoted Linkages Between Cash App and “Block”

          83.       In the wake of its name change announcement, Block, Inc. promoted its new

“Block” corporate brand and also promoted linkages between Cash App and “Block”. For

example:

                   Block, Inc. created a LinkedIn page linking Cash App to the “Block” name




171
      Dhar Declaration, ¶ 48.

                                                     58

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                               Figure 29: Block, Inc. LinkedIn Page172




                  Block, Inc. also created a Twitter account that accumulated more than 74K

                   followers in only 6 weeks.




172
      See also, Exhibit 3.

                                                 59

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                             Figure 30: Block, Inc. Twitter Account1735




          84.      Block, Inc.’s Twitter account made posts connecting Block, Inc. to Cash App and

its other product brands, as demonstrated in the images below.




173
      See also, Exhibit 3.

                                                  60

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      Figure 31: Block, Inc. Twitter Posting Saying “Block is @Square, @Cash App, …”174




174
      See also, Exhibit 3.

                                             61

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             Figure 32: Block, Inc. Twitter Posting Linking “Block” and Cash App175




          85.      On December 1, 2021, Block, Inc. also published a video on its Instagram account

linking Block, Inc. to Cash App and its other product brands, as shown below.




175
      See also, Exhibit 3.

                                                  62

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       Figure 33: Block, Inc. Instagram Video Linking Block, Inc. to Its Product Brands176




           86.      The above evidence further demonstrates that the mechanisms of consumer

confusion contemplated by Prof. Wind and Prof. Dhar are too narrow. Block, Inc.’s promotions

of its new “Block” corporate brand and its linkages of that corporate brand to Cash App constitute

relevant marketplace context for assessing likelihood of confusion. Prof. Dhar’s claim that Block,

Inc. “does not use ‘Block’ as a brand for its Cash App Taxes service” ignores this context. Prof.

Wind’s claim that “Cash App Taxes does not use the ‘Block’ name in its branding and marketing

efforts” also fails to recognize this context.




176
      See also, Exhibit 3.

                                                 63

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          87.       Prof. Dhar observes that the day after Block, Inc.’s name change, the official

Bitcoin Twitter account tweeted “Welcome to the club, Block”.177 The official Bitcoin Twitter

account has 4.3 million worldwide followers.178 This constitutes a substantial consumer exposure

to Block, Inc.’s corporate brand. Such exposures serve as relevant marketplace context for

assessing confusion, because greater consumer familiarity with Block, Inc.’s corporate brand can

contribute to greater consumer brand associations between that corporate brand and the Cash App

product brand.


          D.        Media Are Already Beginning to Link Cash App with “Block”

          88.       In the wake of its renaming, Block, Inc. has already generated substantial media

attention for itself, including media attention that provides linkages between Block, Inc. and Cash

App. For example:

                   A January 13, 2022 article from Fortune about Block, Inc.’s intentions to build a

                    Bitcoin mining system stated “Block … lets users buy and sell Bitcoin through its

                    Cash App”179

                   A January 13, 2022 article from Bloomberg about Block, Inc.’s intentions to build

                    a Bitcoin mining system stated that “Block, which lets users buy and sell Bitcoin

                    through its Cash App, is also building a physical Bitcoin wallet”180

                   A January 11, 2022 article from Market Insider about NBA All-Stars Klay

                    Thompson and Andre Iguodala receiving part of their NBA salary in Bitcoin stated



177
      Dhar Declaration, ¶ 69.
178
      Bitcoin Twitter, <https://twitter.com/bitcoin>.
179
      Wagner, Kurt, et al., “Jack Dorsey’s Block wants to make Bitcoin mining ‘more distributed and efficient in
      every way,’” Fortune, January 13, 2022, <https://fortune.com/2022/01/13/jack-dorsey-block-bitcoin-mining-
      square-crypto/>, accessed January 20, 2022.
180
      Wagner, Kurt and Sarah Frier, “Jack Dorsey’s Block Confirms Plans for Bitcoin Mining System,” Bloomberg,
      January 13, 2022, <https://www.bloomberg.com/news/articles/2022-01-13/jack-dorsey-s-block-confirms-plans-
      for-bitcoin-mining-system>, accessed January 20, 2022.

                                                       64

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                   that “The two All-Stars will use Cash App, which is owned by crypto-bull Dorsey's

                   financial services company Block, to facilitate the conversion of their salaries as

                   well as the bitcoin giveaways.”181

                  A January 17, 2022 article from Benzinga, a media and data technology company,

                   stated that “Green Bay Packers quarterback Aaron Rodgers partnered with Block

                   Inc. … and its CashApp unit” so that Rodgers would receive a portion of his salary

                   in Bitcoin.182

                  A January 18, 2022 article from The Motley Fool listed among its Key Points at the

                   top of the article: “Block has made a number of strategic investments as it looks to

                   differentiate itself from the competition. The explosive growth of Cash App and the

                   company’s strategic acquisitions might be under-appreciated.”183

                  A December 2, 2021 article from Forbes stated that “Block holdings also include

                   mobile money transfer service Cash App, music subscription service TIDAL, and

                   cryptocurrency businesses Spiral and TBD54566975.”184

                  A December 28, 2021 article from The Wall Street Journal stated that “PayPal’s

                   Venmo app and the Cash App from Block (formerly Square) now make it easy to

                   buy cryptocurrency and send it to others.”185


181
      Rosen, Phil, “Two NBA All-Stars to accept salary in bitcoin in partnership with Jack Dorsey’s Cash App,”
      BusinessInsider, Janaury 11, 2022, <https://markets.businessinsider.com/news/currencies/bitcoin-cashapp-
      dorsey-warriors-klay-thompson-andre-iguodala-crypto-salary-2022-1>, accessed January 20, 2022.
182
      Katje, Chris, “9 Star Athletes Who Take Salary & Endorsement Money In Bitcoin: Aaron Rodgets, Klay
      Thompson And More,” Benzinga, January 17, 2022,
      <https://www.benzinga.com/markets/cryptocurrency/22/01/25069731/9-star-athletes-who-take-salary-
      endorsement-money-in-bitcoin-aaron-rodgers-klay-thompson-a>, accessed January 21, 2022.
183
      Spatacco, Adam, “Is Block Stock Undervalued?” The Motley Fool, January 18, 2022,
      <https://www.fool.com/investing/2022/01/18/is-block-stock-undervalued/>, accessed January 21, 2022.
184
      Saul, Derek, “Jack Dorsey-Led Square Changes Name to Block, Doubling Down On Crypto Focus,” Forbes,
      December 2, 2021, <https://www.forbes.com/sites/dereksaul/2021/12/01/jack-dorsey-led-square-changes-name-
      to-block-doubling-down-on-crypto-focus/?sh=587fa4c535a5>, accessed January 21, 2022.
185
      Stern, Joanna, et al., “Tech That Will Change Your Life in 2022,” The Wall Street Journal, December 27, 2021,
      <https://www.wsj.com/articles/tech-that-will-change-your-life-in-2022-11640613604>, accessed January 20,
      2022.

                                                        65

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                 A December 14, 2021 article from TechCrunch stated that “There are already a

                  number of ways to gift cryptocurrencies, but today Cash App will make doing so

                  simpler with a new feature rolling out to its peer-to-peer payments app. The app,

                  owned by Block (the company formerly known as Square) will now allow users in

                  the U.S. to send bitcoin, as well as traditional stocks, as gifts to other U.S. Cash

                  App users.”186

                 A YouTube video published on December 14, 2021 of a CNBC television show

                  includes the caption “BLOCK UNVEILS NEW CASH APP FEATURE TO GIFT

                  STOCKS & BITCOIN”:




186
      Perez, Sarah, “Cash App now lets users ‘gift’ stock and bitcoin using their USD balance or a debit card,”
      TechCrunch, December 14, 2021, <https://techcrunch.com/2021/12/14/cash-app-now-lets-users-gift-stock-and-
      bitcoin-using-their-usd-balance-or-a-debit-card//>, accessed January 21, 2022.

                                                       66

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 Figure 34: CNBC Caption Stating “BLOCK UNVEILS NEW CASH APP FEATURE TO
              GIFT STOCKS & BITCOIN,” with Similar YouTube Title187




          89.     I note that there has been particular recent media attention stemming from Block,

Inc. CEO Jack Dorsey’s decision to step down as CEO of Twitter.188 Given Mr. Dorsey’s status

as a billionaire and head of a technology company that is showing particular interest in Bitcoin, it

is likely that media will continue to provide coverage of Block, Inc. on an ongoing basis, thereby

contributing to the potential for continued and increasing consumer exposures to linkage between

Cash App and “Block”.

          90.     Prof. Wind and Prof. Dhar fail to consider the importance of this media evidence.

Prof. Dhar asserts that a “house of brands” architecture “allows a corporate entity to develop its


187
      See also, Exhibit 3.
188
      See, for example, “Twitter’s Jack Dorsey Steps Down From C.E.O. Role,” The New York Times, November 29,
      2021, <https://www.nytimes.com/2021/11/29/technology/jack-dorsey-twitter.html>; “Jack Dorsey steps down
      as Twitter chief executive,” The Guardian, <https://www.theguardian.com/technology/2021/nov/29/twitter-
      chief-executive-jack-dorsey>.

                                                      67

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own identity distinct from its portfolio brands and vice versa.”189 Yet, he fails to acknowledge the

critical role of media in influencing the extent to which these brand identities are truly distinct.

Indeed, he states that “Alphabet … is not considered by the company to be a consumer-facing

brand.”190          However, as my empirical analysis in Section IV showed, the media exposes

consumers to substantial linkages between product brand Waymo and Alphabet as a corporate

brand. Similarly, these results contradict Prof. Wind’s assertion that confusion is unlikely “given

that Block is a corporate name and not the brand of any customer-facing product or service (unlike,

say, ‘Marriott’).”191 Alphabet fits this criterion of being a “corporate name and not the brand of

any customer-facing product or service,” yet it ends up facing consumers due to the influence of

media, as is likely to be the case with Block, Inc.’s “Block” corporate brand. Other examples of

corporate names that are not product brand but still end up facing consumers due to the influence

of media include Anheuser-Busch and General Motors.


          E.          Consumer-Generated Evidence Shows That Consumers Are Already Linking
                      the “Cash App” Product Brand with “Block”

          91.         Consumer-generated evidence shows that consumers are already linking the “Cash

App” product brand with “Block”. For example:

                     A Twitter post in January 2022, in retweeting a post about Cash AppTaxes,

                      associates the “@CashApp” Twitter handle with Block, Inc.’s “@blocks” handle:




189
      Dhar Declaration, ¶ 87.
190
      Dhar Declaration, ¶ 87.
191
      Wind Declaration, ¶ 70.

                                                    68

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                         Figure 35: User Tweet Linking Cash App and Block192




                  A Twitter post in January 2022 shares that it is the poster’s “first week @Blocks

                   on the @CashApp Design Systems team,” while another from December 2021

                   states that the poster is “happy to announce that I started my new role as the Crypto

                   Operations Senior Manage on the @CashApp team @blocks.” The takeaway from

                   these posts is not that these users are confused, but rather, that they are generating

                   linkages between Cash App and Block, Inc. to which other users of Twitter will be

                   exposed.




192
      See also, Exhibit 3.

                                                    69

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             Figure 36: Tweets from Block Employees Linking Cash App and Block193




                  The below tweets on January 18, 2022 are from media outlets that follow the

                   technology space: Tech Times (with 10.5K followers) and TechCrunch (with 10.1

                   million followers). The Tech Times post states that “Block Cash App is now rolling

                   out its so-called Lightning Network” while the TechCrunch post states that

                   “Block’s Cash App adopts Lightning Network for free bitcoin payments”.




193
      See also, Exhibit 3.

                                                   70

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              Figure 37: Tweets from Media Sources Linking Cash App and Block194




                  A December 2021 Twitter post from The Mac Observer (25.2K followers) states

                   that “Block updated Cash App recently to let people gift each other Bitcoin and

                   traditional stocks. It works with a USD balance or debit card.”195




194
      See also, Exhibit 3.
195
      See Exhibit 3.

                                                   71

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          92.     The Wikipedia page for Cash App states that “Cash App (formerly known as Square

Cash) is a mobile payment service developed by Block, Inc. that allows users to transfer money to

one another using a mobile phone app.”196 Because Wikipedia can be edited by its users, this could

either be evidence of Block, Inc. promoting its connection to Cash App, or alternatively, evidence

of consumer association between Block, Inc. and Cash App. In either case, consumers that visit

the Wikipedia page would be exposed to this linkage.


VII.      H&R BLOCK IS LIKELY TO SUFFER HARM TO ITS BRAND ASSOCIATIONS
          STEMMING FROM A LIKELIHOOD OF CONSUMER CONFUSION CAUSED
          BY BLOCK, INC.’S RENAMING AS WELL AS ITS “CASH APP TAXES”
          OFFERING

          93.     As I have explained above, the key conditions for assessing the likelihood of

confusion in this matter are: (i) the extent to which Block, Inc.’s offerings overlap with the products

or services offered under the H&R Block brand; and (ii) the extent to which consumers are exposed

to Block, Inc.’s use of “Block” to identify either itself as a company or its overlapping product or

service. As demonstrated by the available evidence in this matter, both of these key conditions are

satisfied and are likely to grow stronger with time. Consumers are already being exposed to

linkages between “Cash App” and “Block” in the marketplace, and this linkage can be expected

to grow stronger with the passage of time. In addition, the introduction of “Cash App Taxes” into

the marketplace creates an even more significant overlap between the services offered under the

H&R Block brand and the services that Block, Inc. offers through Cash App. In my opinion, this

creates a likelihood of consumer confusion between the two parties in this case. Such confusion

has the potential to harm the brand associations that H&R Block has cultivated over its more than

65 years of offering tax preparation and other personal financial services to the marketplace.




196
      Cash App Wikipedia Page, <https://en.wikipedia.org/wiki/Cash_App>, accessed January 20, 2022.

                                                       72

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          94.     The pattern by which consumer confusion is likely to strengthen over time is not

necessarily gradual or steady, given its dependence on the extent to which external factors such as

media are likely to influence this pattern. As a consequence, the potential for harm to H&R

Block’s brand associations is also not necessarily likely to be gradual or steady over time. As an

illustrative demonstration of this point, one can consider the event of a serious deficiency in the

“Cash App Taxes” product, such as a data breach, that results in widespread and negative media

coverage.        To the extent that this media coverage links “Cash App Taxes” with

“Block”, as the historical record suggests that it would, this is likely to result in permanent and

irreparable harm to H&R Block’s brand.


VIII. OTHER OPINIONS OFFERED BY PROF. WIND AND PROF. DHAR REVEAL
      THEIR FAILURE TO RECOGNIZE THE LIKELY MECHANISM OF
      CONSUMER CONFUSION IN THIS MATTER

          95.     In this declaration, I have explained the likely mechanism of consumer confusion

in this matter. Prof. Wind and Prof. Dhar fail to recognize this mechanism due to the narrow

context in which they seek to evaluate the potential for consumer confusion.

          96.     Prof. Wind states that “the visual comparison of the H&R Block green squares …

to Block [Inc.]’s logo reveals stark differences.”197 Prof. Dhar agrees, stating that “Block’s

corporate brand identity is … dissimilar to H&R Block’s branding.”198 He further states that

“Block[, Inc.] chose a new logo and visual identity that is distinct from Cash App.”199 Taken

together, Prof. Wind’s and Prof. Dhar’s statements imply that both H&R Block’s logo and Cash

App’s logo are visually distinct from the logo of Block, Inc. When combined with the observation

that H&R Block’s logo is a green square and Cash App’s logo is a rounded green square with a




197
      Wind Declaration, ¶ 76.
198
      Dhar Declaration, ¶ 17.
199
      Dhar Declaration, ¶ 88.

                                                 73

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“$” symbol, the logical implication is that Cash App’s logo is more distinct from the logo of Block,

Inc. than it is from the logo of H&R Block. Indeed, based on my expertise with branding and

brand elements, the Cash App logo is a far better visual fit with the H&R Block family of logos

than with the logo of Block, Inc. This facilitates the likelihood of consumer confusion that Cash

App is associated with H&R Block, rather than diminishing it as suggested by Prof. Wind and

Prof. Dhar. This conclusion is further supported by Prof. Wind’s observation that “[t]ax

preparation services constitute the central part of H&R Block’s business” and “[i]n contrast, Block

offers many products unrelated to income tax.”200 This is all the more reason why a confused

consumer may associate “Cash App Taxes”—a tax preparation service with a green rounded

square logo—with H&R Block rather than Block, Inc.

          97.     Prof. Wind states that “H&R Block never complained about [Cash App’s] branding

until the instant suit.”201 As I have explained above, the potential for confusion is facilitated by

the recent developments of Block, Inc.’s renaming as well as its plans to offer the “Cash App

Taxes” product.

          98.     Prof. Dhar states that “the Cash App name and logo are widely recognized in the

marketplace” and that as a consequence, “confusion is generally unlikely to occur between [Cash

App] and other well-known brands, such as H&R Block.”202 This is flawed reasoning that fails to

recognize that consumers are accustomed to linking together well-known corporate brands and

well-known product brands, such as Toyota and Lexus, Apple and iPhone, or Anheuser-Busch and

Budweiser. There is no contradiction between a consumer recognizing Cash App as a well-known

product brand and also thinking that it is associated with H&R Block.




200
      Wind Declaration, ¶ 78.
201
      Wind Declaration, ¶ 62.
202
      Dhar Declaration, ¶ 53.

                                                 74

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Signed on the 21st Day of January, 2022




                                               Professor David Reibstein




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